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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                    Chapter 11

             ICON AIRCRAFT, INC., et al.,1                             Case No. 24-10703 (CTG)

                                       Debtors.                        (Jointly Administered)


                                 JOINT CHAPTER 11 PLAN OF LIQUIDATION
                           FOR ICON AIRCRAFT, INC. AND ITS DEBTOR AFFILIATES

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         1
               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: ICON Aircraft, Inc. (7443), Rycon LLC (5297), IC Technologies Inc. (7918), and ICON Flying
               Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA 95688.
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                                                 INTRODUCTION

                 ICON Aircraft, Inc., along with its debtor subsidiaries, (collectively, the “Debtors”)
         propose this Plan under section 1121 of the Bankruptcy Code. The Debtors are the proponent of
         the Plan within the meaning of section 1129 of the Bankruptcy Code. Supplemental agreements
         and documents referenced in this Plan and the Disclosure Statement are available for review on
         both the Bankruptcy Court’s docket and on the Debtors’ case information website:
         http://cases.stretto.com/ICONaircraft.

                 Reference is made to the Disclosure Statement filed contemporaneously with the Plan for
         a discussion of the Debtors’ history, business, capital structure, marketing and sale process, and
         liquidation analysis, as well as a summary and analysis of the Plan and certain related matters,
         including distributions to be made under this Plan.

              ALL HOLDERS OF CLAIMS AND INTERESTS ARE ENCOURAGED TO READ
         THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE
         VOTING TO ACCEPT OR REJECT THE PLAN.

                                          ARTICLE I.
                          DEFINED TERMS AND RULES OF INTERPRETATION

                A.      Definitions

                The following terms, when used in this Plan, or any subsequent amendments or
         modifications thereof, have the respective meanings hereinafter set forth and shall be equally
         applicable to the singular and plural of terms defined.

                 1.     “Administrative Claim(s)” means all Claims for costs and expenses of
         administration of these Chapter 11 Cases pursuant to section 327, 328, 330, 365, 503(b), 507(a),
         507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and
         expenses of preserving the Estates and operating the business of the Debtors incurred on or after
         the Petition Date and through the Effective Date; (2) Allowed Professional Fee Claims; and (3) all
         fees and charges assessed against the Estates under 28 U.S. Code Chapter 123.

                2.      “Administrative Claims Bar Date” means the deadline for Filing all requests for
         allowance and payment of Administrative Claims, which, except in the case of Professional Fee
         Claims, shall be thirty (30) days after the Effective Date. Professional Fee Claims shall be filed in
         accordance with the provisions of Article II.C. herein.

                3.      “Affiliate” means any “affiliate,” as defined in section 101(2) of the Bankruptcy
         Code, as if such entity was a debtor in a case under the Bankruptcy Code.

                 4.      “Allowed” means, with respect to any Claim, except as otherwise provided in the
         Plan: (a) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not
         disputed, and for which no Proof of Claim has been Filed; (b) a Claim Allowed pursuant to the
         Plan or a Final Order of the Bankruptcy Court; or (c) a Claim that is evidenced by a Filed Proof of
         Claim (or for which Claim under the Plan, the Bankruptcy Code, or pursuant to a Final Order a
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         Proof of Claim is not or shall not be required to be Filed) provided that with respect to a Claim
         described in clause (a) and (c) above, such Claim shall be considered Allowed only if, and to the
         extent that, with respect to such Claim, no objection to the allowance thereof has been Filed by the
         Debtors, the Plan Administrator, or any other party in interest within the applicable period of time
         fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such
         an objection was so Filed and the Claim shall have been Allowed by a Final Order of the
         Bankruptcy Court. Any Claim that has been or is hereafter listed in the Schedules as contingent,
         unliquidated, or disputed, and for which no Proof of Claim is Filed by the Bar Date, is not
         considered Allowed and shall be expunged without further action by the Debtors or the Plan
         Administrator (as applicable) and without further notice to any party or action, approval, or order
         of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no Claim of any Entity
         subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such
         Entity pays in full the amount that it owes the Debtors to the Debtors or the Plan Administrator (as
         applicable). “Allow” and “Allowing” shall have correlative meanings.

                 5.      “Asset Purchase Agreement” means a negotiated asset purchase agreement (as such
         may be amended, supplemented, or modified from time to time) by and among the Debtors, as
         seller and a Purchaser, as buyer, for the sale of some or all of the Debtors’ assets according to the
         terms set forth therein.

                6.       “Ballots” means ballots provided to each of the Holders of Claims entitled to vote
         to accept or reject the Plan.

                7.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
         1532, as amended from time to time.

               8.       “Bankruptcy Court” means the United States Bankruptcy Court for the District of
         Delaware.

               9.      “Bankruptcy Rule(s)” means the Federal Rules of Bankruptcy Procedure, as
         promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
         Code

                 10.     “Bar Date” means, as applicable, the Administrative Claims Bar Date, and any
         other date or dates established by an order of the Bankruptcy Court by which Proofs of Claim must
         be Filed, including the general bar date and bar date for Governmental Units, each as requested in
         the Debtors’ Motion for Entry of an Order (I) Setting Bar Dates for Filing Proofs of Claim; (II)
         Approving Notice of Bar Dates; and (III) Granting Related Relief [Docket No. 95] and as ordered
         by the Bankruptcy Court in a Final Order granting the relief requested therein. Notwithstanding
         the foregoing, the Professional Fee Claims shall be Filed in accordance with Article II.C herein
         and shall not otherwise be subject to the Bar Date.

                 11.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
         (as that term is defined in Bankruptcy Rule 9006(a)).

               12.      “Cash” means cash and cash equivalents in legal tender of the United States of
         America.

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                  13.     “Causes of Action” means any claims, interests, damages, remedies, causes of
         action, demands, rights, actions, controversies, proceedings, agreements, suits, obligations,
         liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties,
         and franchises of any kind or character whatsoever, whether known or unknown, foreseen or
         unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or
         unliquidated, secured or unsecured, assertable, directly or derivatively, matured or unmatured,
         suspected or unsuspected, whether arising before, on, or after the Petition Date, in contract, tort,
         law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or
         recoupment and claims under contracts or for breaches of duties imposed by law or in equity;
         (b) claims pursuant to federal securities law; (c) the right to object to or otherwise contest Claims
         or Interests; (d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (e) such
         claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section
         558 of the Bankruptcy Code; and (f) any avoidance actions arising under chapter 5 of the
         Bankruptcy Code or under similar local, state, federal, or foreign statutes and common law,
         including fraudulent transfer laws.

                14.     “Chapter 11 Cases” means these chapter 11 cases Filed by the Debtors under
         chapter 11 of the Bankruptcy Code in the Bankruptcy Court.

                15.     “Claim(s)” means any “claim,” as defined in section 101(5) of the Bankruptcy
         Code, against the Debtors or the Estates.

                16.     “Claims Objection Bar Date” means the date that is three hundred and sixty-five
         (365) days after the Effective Date, which date may be extended upon presentment of an order to
         the Bankruptcy Court by the Plan Administrator.

                 17.     “Class” means a category of Claims or Interests as established by and set forth in
         Article III herein pursuant to section 1122(a) of the Bankruptcy Code.

               18.     “Committee” means an official committee of unsecured creditors appointed in these
         Chapter 11 Cases by the U.S. Trustee under section 1102(b) of the Bankruptcy Code, if any.

              19.      “Committee Professionals” means any Retained Professional retained by the
         Committee, if any, in these Chapter 11 Cases.

               20.    “Confirmation Date” means the date upon which the Bankruptcy Code enters the
         Confirmation Order on the docket of these Chapter 11 Cases.

                 21.    “Confirmation Hearing” means the hearing(s) conducted by the Bankruptcy Court
         pursuant to section 1128(a) of the Bankruptcy Code to consider Confirmation of the Plan pursuant
         to section 1129 of the Bankruptcy Code, as such hearing may be adjourned or continued from time
         to time.

                22.     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
         pursuant to section 1129 of the Bankruptcy Code, in form and substance reasonably acceptable to
         the DIP Agent in its discretion.


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                23.     “Consummation” means the implementation of the Plan, which is expected to occur
         on the Effective Date.

               24.     “Cure” means all amounts, including an amount of $0.00, required to cure any
         monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as
         may be agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be
         assumed or assumed and assigned by the Debtors.

                 25.     “D&O Policies” means, collectively, each director and officer liability insurance
         policies, along with any other applicable insurance policies, including primary insurance, excess
         insurance, or tail insurance policies.

                 26.  “Debtors” means, collectively, ICON Aircraft, Inc., Rycon LLC, IC Technologies
         Inc. and ICON Flying Club, LLC, each as a debtor and debtor in possession.

                27.     “Debtors Releases” means the releases set forth in Article IX.A. herein.

                28.     “DIP Claim” means a Claim under the DIP Facility.

                 29.    “DIP Credit Agreement” means that certain Senior Secured, Super-Priority Debtor-
         in-Possession Loan and Security Agreement, dated April 4, 2024, by and among ICON Aircraft,
         Inc., as borrower, each of the other Debtors, as guarantor, the DIP Agent, and the lenders party
         thereto.

                30.    “DIP Facility” means that certain $9 million secured debtor-in-possession multiple
         draw term loan credit facility issued pursuant to the DIP Credit Agreement.

                31.     “DIP Facility Collateral” means the collateral securing the DIP Facility, as set forth
         more specifically in the DIP Orders.

                32.     “DIP Agent” means FeiRen International Co., Ltd.

                33.     “DIP Lender” means FeiRen International Co., Ltd., along with its successors or
         assigns.

                34.    “DIP Loan Documents” means, collectively, the DIP Orders, the DIP Credit
         Agreement, and related security agreements and other documents required or requested by the DIP
         Secured Parties to be executed or delivered by or in connection with the DIP Credit Agreement
         (each as may be amended, restated, supplemented, or otherwise modified from time to time in
         accordance with the terms thereof).

                35.    “DIP Orders” means the interim and final orders entered by the Bankruptcy Court
         approving the DIP Facility in these Chapter 11 Cases.

                36.     “DIP Secured Parties” means, collectively, the DIP Agent and the DIP Lender.

                37.    “DIP Secured Party Expenses” means all reasonable and documented fees, costs,
         and expenses of the DIP Secured Party Professionals incurred in connection with these Chapter 11

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         Cases, along with any other “Lender Expenses” (as such term is defined in the DIP Credit
         Agreement) required to be paid under the terms of the DIP Credit Agreement.

               38.    “DIP Secured Party Professional(s)” means Tian Yuan Law Firm, as counsel to the
         DIP Secured Parties, and The Rosner Law Group LLC, as local counsel to the DIP Secured Parties.

                 39.    “Disbursing Agent” means the Debtors, the Plan Administrator, or the Person or
         Entit(ies) selected by the Plan Administrator, as applicable, to make or facilitate the Plan
         Distributions.

                 40.     “Disclosure Statement” means the Disclosure Statement for the Joint Chapter 11
         Plan for ICON Aircraft, Inc. and its Debtor Affiliates, dated May 13, 2024 (as such may be
         amended, supplemented, or modified from time to time), including all exhibits and schedules
         thereto and references therein that relate to this Plan, that is prepared and distributed in accordance
         with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable law.

                  41.    “Disputed” means, with respect to any Claim or Interest, any Claim or Interest:
         (a) listed on the Schedules as unliquidated, disputed or contingent, unless a Proof of Claim has
         been Filed in a liquidated and non-contingent amount and no objection to such Proof of Claim has
         been timely filed; (b) included in a Proof of Claim as to which an objection or request for
         estimation has been filed, or as to which the Debtors, the Plan Administrator, or other parties in
         interest in accordance with applicable law, retain the ability to interpose a timely objection or
         request for estimation in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Plan or
         the Confirmation Order; or (c) which is otherwise disputed by the Debtors or the Plan
         Administrator (as applicable) in accordance with applicable law and for which the objection,
         request for estimation, or dispute has not been withdrawn or determined by a Final Order. To the
         extent that a Claim is held by a Holder that is or may be liable to the Debtors, the Estates, or the
         Plan Administrator on account of a Retained Cause of Action, such Claim shall be a Disputed
         Claim unless and until such Retained Cause of Action has been settled or withdrawn or has been
         determined by a Final Order. Claims that are Allowed by the Plan or that have been Allowed by
         a Final Order shall not be Disputed Claims.

                42.      “Disputed Claims Reserve” means a reserve established and maintained by the Plan
         Administrator for Holders of Disputed Claims to the extent such Claims are subsequently Allowed
         and entitled to distributions.

               43.     “Disputed Claims Reserve Amount” means the amount of the Disputed Claims
         Reserve, which shall be determined by the Bankruptcy Court.

                44.     “Distribution Record Date” means the date for determining which Holders of
         Claims are eligible to receive distributions under the Plan, which date shall be the Effective Date
         or such other date as designated in a Final Order of the Bankruptcy Court.

                45.     “Effective Date” means the date that is the first Business Day after the entry of the
         Confirmation Order on which (a) no stay of the Confirmation Order is in effect; and (b) all
         conditions precedent to the occurrence of the Effective Date, as set forth in Article VIII.A herein,
         have been satisfied or waived in accordance with the Plan. Any action to be taken on the Effective
         date may be taken on or as soon as reasonably practicable thereafter.
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                46.     “Entity” means any “entity,” as defined in section 101(15) of the Bankruptcy Code.

                 47.   “Estates” means the bankruptcy estates of the Debtors created pursuant to section
         541 of the Bankruptcy Code upon the commencement of these Chapter 11 Cases.

                 48.    “Exculpated Party” or “Exculpated Parties” means, in each case in its capacity as
         such, (a) the Debtors; (b) the Debtors’ directors and officers during these Chapter 11 Cases; (c)
         the Committee, if any; and (d) the Retained Professionals.

                49.    “Executory Contract(s)” means a contract to which a Debtor is a party and subject
         to assumption or rejection under section 365 of the Bankruptcy Code.

                50.     “File” or “Filed” means file, filed, or filing with the Bankruptcy Court or its
         authorized designee in these Chapter 11 Cases, or in the case of a Proof of Claim, the Notice and
         Claims Agent.

                 51.     “Final Order” means an order or judgment of the Bankruptcy Court or other court
         of competent jurisdiction with respect to the relevant subject matter that has not been reversed,
         stayed, modified, or amended, and as to which the time to appeal, seek reconsideration under Rule
         59(b) or 59(e) of the Federal Rules of Civil Procedure, seek a new trial, reargument, or rehearing
         and, where applicable, petition for certiorari has expired and no appeal, motion for reconsideration
         under Rule 59(b) or 59(e) of the Federal Rules of Civil Procedure, motion for a new trial,
         reargument or rehearing or petition for certiorari has been timely taken, or as to which any appeal
         that has been taken or any petition for certiorari that has been filed has been resolved by the highest
         court to which the order or judgment was appealed or from which certiorari was sought, or as to
         which any motion for reconsideration that has been filed pursuant to Rule 59(b) or 59(e) of the
         Federal Rules of Civil Procedure or any motion for a new trial, reargument, or rehearing shall have
         been denied, resulted in no modification of such order, or has otherwise been dismissed with
         prejudice; provided that the possibility that a motion pursuant to Rule 60 of the Federal Rules of
         Civil Procedure or Bankruptcy Rule 9024, or any analogous rule, may be filed relating to such
         order or judgment shall not cause such order or judgment not to be a Final Order.

                52.    “General Unsecured Claim(s)” means any Claim other than a(n): (a) Administrative
         Claim; (b) Professional Fee Claim; (c) Priority Tax Claim; (d) DIP Claim; (e) Other Secured
         Claim; (f) Other Priority Claim; (g) Noteholder Claim; (h) Section 510(b) Claim; or (i)
         Intercompany Claim.

                53.     “Governmental Unit(s)” means a “governmental unit,” as defined in section
         101(27) of the Bankruptcy Code.

                 54.      “Holder(s)” means a Person or Entity, as applicable, holding a Claim against, or an
         Interest in, the Debtor, as the context requires.

               55.    “Impaired” means “impaired” within the meaning of section 1124 of the
         Bankruptcy Code.

                56.    “Insurance Policies” means all insurance policies that have been issued at any time
         to or provide coverage to the Debtors and all agreements, documents, or instruments relating
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         thereto, provided that it does not include any such policies that are, or have been, assumed and
         assigned to the Purchaser(s) on or before the Effective Date pursuant to the Asset Purchase
         Agreement(s), the Sale Order, and section 365 of the Bankruptcy Code.

                57.     “Intercompany Claim” means any Claim held by a Debtor against another Debtor.

                58.    “Intercompany Interest” means an Interest in a Debtor that is held by another
         Debtor or an Affiliate of a Debtor.

                 59.     “Interest(s)” means equity security (as defined in section 101(16) of the Bankruptcy
         Code) of the Debtors, including all shares, common stock, preferred stock, or other instrument
         evidencing any fixed or contingent ownership interest in the Debtors, whether or not transferable,
         and any option, warrant, or other right, contractual or otherwise, to acquire any such interest in the
         Debtors, whether fully vested or vesting in the future, including without limitation, equity or
         equity-based incentives, grants, or other instruments issued, granted, or promised to be grated to
         current or former employees, directors, officers, or contractors of the Debtors, to acquire any such
         interest in the Debtors that existed immediately before the Petition Date.

                 60.    “IRS Form” means IRS Form W-9, W-8BEN, any acceptable substitute, or any
         other tax information form that the Disbursing Agent may require from a Holder of a Claim for a
         distribution under the Plan.

                 61.     “Law” means any federal, state, local, or foreign law (including common law),
         statute, code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly
         adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction
         (including the Bankruptcy Court).

                62.     “Lien” means a “lien,” as defined in section 101(37) of the Bankruptcy Code.

                 63.     “Net Sale Proceeds” means (a) the remaining net proceeds from the Sale (after
         giving effect to payment of any closing costs, Cure amounts, and other expenses, including taxes,
         as may have previously been agreed to between the Purchaser(s) and the Debtors in the Asset
         Purchase Agreement(s); minus (b) the amounts necessary to satisfy or reserve for (i) Allowed
         Administrative Claims, including DIP Claims, Professional Fee Claims, Priority Tax Claims, and
         Statutory Fees, (ii) Other Secured Claims, (iii) Other Priority Claims, and (iv) the Wind-Down
         Budget; provided, that any amounts reserved but not used for subclauses (i) through (iv) above
         shall revert back to the Net Sale Proceeds.

                 64.     “Non-Released Parties” means any party who is (a) not a Released Party pursuant
         to Article IX.A. and IX.B. of this Plan, or (b) is included as a Party to a Retained Cause of Action
         identified in the Plan Supplement.

                 65.     “Noteholder Claim(s)” means a Claim held by a Holder of a prepetition funded debt
         obligation or a convertible note obligation, as applicable, of the Debtors.

                66.      “Notice and Claims Agent” means Stretto, Inc. in its capacity as noticing, claims,
         and solicitation agent for the Debtors.

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                67.    “Notice of Non-Voting Status Package” means the materials sent to Holders of
         Claims and Interests not entitled to vote to accept or reject the Plan, including the Release Opt-Out.

                68.    “OCP” means an ordinary course professional whose retention and compensation
         has been authorized by the Bankruptcy Court by entry of an OCP Order.

                69.     “OCP Order” means the order granting the Debtors’ Motion for Entry of an Order
         (I) Authorizing the Debtors to Retain and Compensate Professionals Utilized in the Ordinary
         Course of Business and (II) Granting Related Relief [Docket No. 93].

                 70.     “Other Priority Claim(s)” means any Claim, other than an Administrative Claim or
         a Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy
         Code.

                 71.     “Other Secured Claim(s)” means any Claim against a Debtor where, pursuant to
         section 506 of the Bankruptcy Code, the Claim is (a) secured by a valid, perfected, and enforceable
         Lien that is not subject to avoidance under applicable bankruptcy or non-bankruptcy law, in or
         upon any right, title, or interest of the Debtor in and to property of the Estate, to the extent of the
         value of the Holder’s interest in such property as of the relevant determination date.

                72.     “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code.

                 73.    “Petition Date” means April 4, 2024, which is the date on which the Debtors Filed
         their voluntary petitions for relief under chapter 11 of the Bankruptcy Code, thereby commencing
         these Chapter 11 Cases.

                 74.     “Plan” means this joint plan of liquidation under chapter 11 of the Bankruptcy
         Code, either in its present form or as it may be altered, amended, modified, or supplemented from
         time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules, or the terms hereof,
         as the case may be, and the Plan Supplement, which is incorporated herein by reference, including
         all exhibits and schedules hereto and thereto.

                75.      “Plan Administrator” means the Person or Entity selected by the Debtors and
         appointed on the Effective Date to administer to the wind-up of the Debtors, including the making
         of any Plan Distributions that may arise after the Effective Date or any other duties or
         responsibilities set forth herein.

                76.    “Plan Assets” means (a) the Net Sale Proceeds; and (b) the net proceeds from the
         recovery from the Retained Causes of Action, if any.

               77.    “Plan Beneficiaries” means the Holders of Noteholder Claims and the Holders of
         General Unsecured Claims, who shall share pro rata in the Plan Assets.

                 78.     “Plan Distribution” means a payment or distribution to Holders of Allowed Claims
         or other eligible Entities under this Plan.

               79.    “Plan Supplement” means a supplemental appendix to the Plan consisting of
         documents and forms of documents, agreements, schedules, and exhibits to the Plan, which shall
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         be Filed by the Debtors no later than seven (7) days before the Voting Deadline to accept or reject
         the Plan or such later date that may be approved by the Bankruptcy Court on notice to parties in
         interest. The Plan Supplement shall include, among other things, (a) the identity and compensation
         of the Plan Administrator; (b) to the extent known, the identity of any insider that will be employed
         or retained by the Plan Administrator, and the nature of any compensation for such insider; (c) the
         list of Retained Causes of Action, if any; (d) any amended organization documents as may be
         required to implement the Plan; and (e) other documentation necessary to effectuate the Plan or
         that is contemplated by the Plan.

                 80.     “Priority Tax Claim(s)” means a Claim of a Governmental Unit of the kind
         specified in section 507(a)(8) of the Bankruptcy Code.

                81.     “Professional Fee Claim(s)” means a Claim (a) by a Retained Professional seeking
         an award by the Bankruptcy Court of compensation for services rendered or reimbursement of
         expenses incurred after the Petition Date and on or before the Confirmation Date under sections
         328, 330, 331, or 503(b)(2) of the Bankruptcy Code, as applicable; or (b) by an OCP for
         compensation for services rendered or reimbursement of expenses incurred after the Petition Date
         and on or before the Effective Date pursuant to the OCP Order.

                 82.    “Professional Fee Reserve” means the reserve established and funded by the Debtor
         prior to the Effective Date to satisfy the unpaid Professional Fee Claims of the Retained
         Professionals.

               83.     “Proof of Claim” means a proof of Claim Filed against any of the Debtors in these
         Chapter 11 Cases.

                84.     “Purchasers” means the Person(s) or Entit(ies) who purchase some or all of the
         Debtors’ assets pursuant to the Asset Purchase Agreement(s) and the Sale Order.

                 85.     “Related Party” means each of, and in each case in its capacity as such, current and
         former directors, managers, officers, the Special Committee, committee members, members of any
         governing body, equity holders (regardless of whether such interests are held directly or
         indirectly), affiliated investment funds or investment vehicles, managed accounts or funds,
         predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
         general partners, principals, members, management companies, fund advisors or managers,
         employees, agents, trustees, advisory board members, financial advisors, attorneys (including any
         other attorneys or professionals retained by any current or former director or manager in his or her
         capacity as director or manager of an Entity), accountants, investment bankers, consultants,
         representatives, and other professionals and advisors and any such Person’s or Entity’s respective
         heirs, executors, estates, and nominees.

                86.     “Release Opt-Out” means the item set forth in each of the Ballots and Notice of
         Non-Voting Status Packages, which permit both those Holders of Claims and Interests entitled to
         vote on the Plan and those not entitled to vote on the Plan the right to opt out of the Third Party
         Release set forth in Article IX.B herein.

                 87.    “Released Party” means each of, and in each case solely in its capacity as such:
         (a) the Debtors; (b) the DIP Secured Parties; (c) the Committee, if any; and (d) each Related Party
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         of the Debtors or the Committee, including any professional retained by the Debtors, DIP Secured
         Parties, or the Committee, if any, in connection with these Chapter 11 Cases. Notwithstanding the
         foregoing, the definition of “Released Party” shall not include any Non-Released Parties.

                 88.     “Releasing Parties” means, collectively, and in each case solely in their respective
         capacities as such: (a) the DIP Secured Parties; (b) the Committee, if any; (c) all Holders of Claims
         deemed hereunder to have accepted the Plan that have not filed an objection to the release
         contained in Article IX herein prior to the Voting Deadline; (d) all Holders of a Claim that (i) vote
         to accept or reject the Plan and do not timely submit a Release Opt-Out, or (ii) do not vote to accept
         or reject the Plan and either do not timely submit a Release Opt-Out or do not file an objection to
         the releases contained in Article IX herein prior to the Voting Deadline; (e) all Holders of Claims
         or Interest deemed hereunder to have rejected the Plan that have not filed an objection to the release
         contained in Article IX herein prior to the Voting Deadline or otherwise timely submitted a Release
         Opt-Out; (f) each current and former Affiliate of each Person or Entity in clauses (a) through (e)
         solely to the extent such Affiliate may assert Claims or Causes of Action on behalf of or in a
         derivative capacity by or through an Entity in clauses (a) through (e); and (g) each Related Party
         of each Entity in clauses (a) through (e) solely to the extent such Related Party may assert Claims
         or Causes of Action on behalf of or in a derivative capacity by or through an Entity in clauses (a)
         through (e).

                89.    “Retained Causes of Action” means the schedule of Causes of Action to be retained
         by the Debtors and not released pursuant to Article IX.A herein, if any, which shall be filed with
         the Plan Supplement.

                 90.    “Retained Professional(s)” means a Person or Entity employed in these Chapter 11
         Cases pursuant to a Final Order in accordance with sections 327, 328, and/or 1103 of the
         Bankruptcy Code and to be compensated for services rendered prior to the Effective Date pursuant
         to sections 327, 328, 329, 330, or 331 of the Bankruptcy Code.

                 91.    “Sale” means the transaction between and among the Debtors and the Purchaser(s),
         pursuant to which the Debtors will sell substantially all of their assets to the Purchasers pursuant
         to sections 363 and 365 of the Bankruptcy Code, as set forth in the Sale Order and the Asset
         Purchase Agreement(s).

               92.     “Sale Documents” means, collectively, the Asset Purchase Agreement(s) and all
         agreements, documents, and instruments related thereto, including the Sale Order.

                93.     “Sale Motion” means the Debtors’ Motion for Entry of (I) an Order (A) Approving
         Certain Bidding Procedures and the Form and Manner of Notice Thereof, (B) Scheduling an
         Auction and a Hearing on the Approval of the Sale of all or Substantially All of the Debtors’ Assets
         (C) Establishing Certain Assumption and Assignment Procedures and Approving the Manner of
         Notice Thereof, and (D) Granting Related Relief; and (II) an Order (A) Authorizing and Approving
         the Debtors’ Entry into an Assets Purchase Agreement, (B) Authorizing the Sale of All or
         Substantially All of the Debtors’ Assets Free and Clear of all Encumbrances, (C) Approving the
         Assumption and Assignment of the Assumed Contracts, and (D) Granting Related Relief [Docket
         No. 83].


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                 94.     “Sale Order” means an order entered by the Bankruptcy Court authorizing the sale
         of all or substantially all of the Debtors’ assets to the Purchaser(s) pursuant to sections 363 and
         365 of the Bankruptcy Code and in accordance with the Sale Motion and the Asset Purchase
         Agreement(s).

                95.     “Schedules” means, collectively, the schedule of assets and liabilities, schedule of
         Executory Contracts and Unexpired Leases, and statement of financial affairs Filed by the Debtors
         pursuant to section 521 of the Bankruptcy Code, the Bankruptcy Rules, and the official bankruptcy
         forms, as the same may be amended, modified, or supplemented from time to time.

               96.    “Section 510(b) Claim(s)” means any Claim subordinated by order of the
         Bankruptcy Court pursuant to section 510(b) of the Bankruptcy Code or otherwise.

                97.     “Special Committee” means the special committee formed by the Board of
         Directors of Icon Aircraft, Inc. in January 2024, which special committee consists of one
         independent director—Thomas G. FitzGerald—who is authorized to evaluate, negotiate, deem
         advisable, approve, execute, consummate and implement, or reject strategic options with respect
         to the Debtors to the maximum extent permitted by the Debtors’ charters, bylaws, stockholder
         agreements, and/or other organizational documents.

                 98.     “Statutory Fees” means all fees due and payable pursuant to section 1930 of Title
         28 of the United States Code, together with the statutory rate of interest set forth in section 3717
         of Title 31 of the United States Code, to the extent applicable.

               99.      “U.S. Trustee” means the Office of the United States Trustee for the District of
         Delaware.

               100. “Unexpired Lease(s)” means a lease to which a Debtor is a party and subject to
         assumption or rejection under section 365 of the Bankruptcy Code.

                 101. “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired”
         within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

                102. “Voting Deadline” means the date and time by which all Ballots to accept or reject
         the Plan must be received to be counted.

                 103. “Wind-Down” means the post-Effective Date wind-down process by which the
         Plan Administrator shall seek to (a) liquidate any remaining assets of the Debtors and make
         distributions relating to the same; (b) complete any tasks required to wind-down the affairs of the
         Debtors; and (c) otherwise close these Chapter 11 Cases, as described in more detail in Article IV
         herein.

                104. “Wind-Down Budget” means the budget for all reasonable activities and expenses
         associated with the Wind-Down, including, but not limited to, post-Effective Date professional
         fees and expenses and insurance costs.



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                 B.      Rules of Interpretation

                 For the purposes of the Plan, and except as otherwise provided herein, the following rules
         of interpretation shall apply: (1) whenever from the context it is appropriate, each term, whether
         stated in the singular or the plural, will include both the singular and the plural; (2) unless otherwise
         provided in the Plan, any reference in the Plan to a contract, instrument, release, or other agreement
         or document being in a particular form or on particular terms and conditions means that such
         document will be substantially in such form or substantially on such terms and conditions; (3) any
         reference in the Plan to an existing document or exhibit Filed or to be Filed means such document
         or exhibit, as it may have been or may be amended, modified or supplemented pursuant to the Plan
         or Confirmation Order; (4) any reference to an Entity as a Holder of a Claim or Interest includes
         that Entity’s successors and assigns; (5) all references in the Plan to “Articles” and “Exhibits” are
         references to the articles and exhibits of or to the Plan unless otherwise noted; (6) the words
         “herein,” “hereunder,” and “hereto” refer to the Plan in its entirety rather than to a particular
         portion of the Plan; (7) the words “includes” or “including” are not limiting; (8) captions and
         headings to Articles and Sections are inserted for convenience of reference only and are not
         intended to be a part of or to affect the interpretation of the Plan; (9) unless otherwise specified,
         references in the Plan to “D.I.” refer to entries on these Chapter 11 Cases’ docket; (10) subject to
         the provisions of any contract, certificate of incorporation, by-laws, or similar constituent
         document, instrument, release, or other agreement or document entered into or delivered in
         connection with the Plan, the rights and obligations arising under the Plan will be governed by,
         and construed and enforced in accordance with, federal law, including the Bankruptcy Code and
         the Bankruptcy Rules, and, to the extent applicable, the laws of the State of Delaware; (11) the
         rules of construction set forth in section 102 of the Bankruptcy Code will apply; and (12) all
         references in the Plan to monetary figures refer to currency of the United States of America, unless
         otherwise expressly provided.

                 C.      Computation of Time

                In computing any period of time prescribed or allowed by the Plan, the provisions of
         Bankruptcy Rule 9006(a) will apply. Any references to the Effective Date shall mean the Effective
         Date or as soon as reasonably practicable thereafter unless otherwise specified herein.

                 D.      Controlling Document

                In the event of an inconsistency between the Plan and the Disclosure Statement or the Plan
         and the Plan Supplement, the terms of the Plan shall control in all respects. In the event of an
         inconsistency between the Plan and the Confirmation Order, the Confirmation Order shall control.

                                       ARTICLE II.
             ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND STATUTORY FEES

                 In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
         (including Professional Fee Claims) and Priority Tax Claims have not been classified and, thus,
         are excluded from the Classes of Claims and Interests set forth in Article III herein.



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                A.      Administrative Claims

                  Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the
         Debtors or the Plan Administrator (as applicable), each Holder of an Allowed Administrative
         Claim (other than Holders of Professional Fee Claims and Claims for Statutory Fees) will receive
         in full and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the
         amount of such Allowed Administrative Claim in accordance with the following: (1) if an
         Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date (or, if not
         then due, when such Allowed Administrative Claim becomes due or as soon as reasonably
         practicable thereafter); (2) if such Administrative Claim is not Allowed as of the Effective Date,
         thirty (30) days after the date on which an order allowing such Administrative Claim becomes a
         Final Order, or as soon as reasonably practicable thereafter; or (3) at such time and upon such
         terms as set forth in a Final Order of the Bankruptcy Court.

                 Except for Professional Fee Claims, and notwithstanding any prior Filing or Proof of
         Claim, Proofs of Claim seeking the allowance and payment of Administrative Claims must be
         Filed and served on the Debtors or the Plan Administrator (as applicable) and their counsel, no
         later than the Administrative Claims Bar Date pursuant to the procedures specified in the
         Confirmation Order and the notice of the occurrence of the Effective Date. The burden of proof
         for the allowance of Administrative Claims remains on the Holder of the Administrative Claim.

                 Objection to such Proofs of Claim must be Filed and served on the requesting party within
         one hundred twenty (120) days after the Effective Date. After notice and a hearing, the Allowed
         amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance with,
         a Final Order.

                 Except as otherwise provided in Articles II.B or II.D herein, Holders of
         Administrative Claims that do not File and serve a Proof of Claim or application for payment
         of administrative expense requesting the allowance of an Administrative Claim by the
         Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from
         asserting Administrative Claims against the Debtors, the Estates, the Plan Administrator, or
         their assets and properties, and any Administrative Claims shall be deemed disallowed as of
         the Effective Date unless otherwise ordered by the Court.

                B.      DIP Claims

                 Except to the extent that a Holder of a DIP Claim agrees to a different treatment, each
         Holder of a DIP Claim shall receive, in full and final satisfaction of such Claim (1) the proceeds
         of the Sale or any other sale of the DIP Facility Collateral; and (2) in the event that the DIP Lender
         determines to exercise its right to credit bid resulting in a sale of the DIP Facility Collateral to the
         DIP Lender or its designee, ownership of such assets; provided with respect to clause (2) above,
         such satisfaction, compromise, settlement, release, and discharge of the DIP Claims shall be equal
         to and not exceed the amount of the applicable credit bid by the DIP Lender with respect to such
         assets.

                 The DIP Secured Party Expenses shall constitute Allowed Administrative Claims with
         priority over all administrative expenses of the kind specified in sections 503(b) and 507 of the

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         Bankruptcy Code, except for the Professional Fee Claims, and shall be paid in full in Cash no later
         than the Effective Date and without any requirement to file a fee application with the Bankruptcy
         Court or for the Bankruptcy Court’s review or approval. The DIP Secured Party Expenses shall
         not be discharged, modified, or otherwise affected by the Plan and shall not be subject to
         disgorgement, setoff, disallowance, impairment, challenge, contest, attack, rejection, recoupment,
         reduction, defense, counterclaim, subordination, recharacterization, avoidance, or other claim or
         cause of action of any nature under the Bankruptcy Code or applicable nonbankruptcy law.

                C.      Professional Fee Claims

                        1.     Final Fee Applications

                 All requests for payment of Professional Fee Claims by Retained Professionals (other than
         OCPs) for services rendered and reimbursement of expenses incurred prior to the Confirmation
         Date must be Filed no later than forty-five (45) days after the Effective Date. Objections to
         Professional Fee Claims must be Filed and served no later than twenty-one (21) days after the
         Filing of the Professional Fee Claim. The Bankruptcy Court shall determine the Allowed amounts
         of such Professional Fee Claims of Retained Professionals (other than OCPs) after notice and a
         hearing in accordance with the procedures established by the Bankruptcy Court, except to the
         extent such procedures are inconsistent with the express terms herein. Unless otherwise agreed to
         by the Debtors and the Retained Professional, the Plan Administrator shall pay Professional Fee
         Claims that are Allowed by Final Order following the Effective Date in Cash from the Professional
         Fee Reserve.

                        2.     Administrative Claims of OCPs

                All requests for payment of Professional Fee Claims of OCPs shall be made pursuant to
         the OCP Order. To the extent any Professional Fee Claims of the OCPs have not been Allowed
         pursuant to the OCP Order on or before the Effective Date, the amount of Professional Fee Claims
         owing to the OCPs shall be paid in Cash to such OCPs by the Debtors or the Plan Administrator
         (as applicable) from the Professional Fee Reserve as soon as reasonably practicable after such
         Professional Fee Claims are Allowed pursuant to the OCP Order.

                        3.     Post-Confirmation Date Fees and Expenses

                 Except as otherwise specifically provided in the Plan, from and after the Confirmation
         Date, the Debtors or Plan Administrator (as applicable) shall, in the ordinary course of business
         and without any further notice to or action, order, or approval of the Bankruptcy Court, pay in
         Cash the reasonable and documented legal, professional, or other fees and expenses related to
         implementation of the Plan and Consummation incurred by the Debtors or the Plan Administrator
         (as applicable). Upon the Confirmation Date, any requirement that the Retained Professionals
         comply with sections 327 through 331, 363, and 1003 of the Bankruptcy Code in seeking retention
         or compensation for services rendered after such date shall terminate, and the Debtors or Plan
         Administrator (as applicable) may employ and pay any Retained Professional in the ordinary
         course of business without any further notice to or action, order, or approval of the Bankruptcy
         Court.


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                        4.      Professional Fee Reserve

                  The Retained Professionals shall reasonably estimate their unpaid Professional Fee Claims
         and other unpaid fees and expenses incurred in rendering services to the Debtors before and as of
         the Confirmation Date, and shall deliver such estimate to the Debtors no later than two (2) Business
         Days before the Confirmation Date; provided, that such estimate shall not be deemed to limit the
         amount of the fees and expenses that are the subject of the Retained Professionals’ final request
         for payment of Filed Professional Fee Claims. If a Retained Professional does not provide an
         estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such Retained
         Professional. The Debtors shall fund and reserve the Professional Fee Reserve until payment in
         full of all Allowed Professional Fee Claims. If the Professional Fee Reserve is insufficient to fund
         the full Allowed amounts of Professional Fee Claims, the remaining unpaid Allowed Professional
         Fee Claims shall be paid by the Plan Administrator as Allowed Administrative Claims. The
         Professional Fee Reserve cannot be used to pay any Secured, Priority, or Administrative Claims
         until all Professional Fee Claims are satisfied or otherwise reserved for.

                D.      Priority Tax Claims

                On the Effective Date, or as soon as reasonably practicable thereafter, except to the extent
         a Holder of an Allowed Priority Tax Claim and the Debtors or the Plan Administrator (as
         applicable) agree to less favorable treatment for such Holder, in full and final satisfaction of the
         Allowed Priority Tax Claim, each Holder thereof will be paid in full in Cash or otherwise receive
         treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code.

                E.      U.S. Trustee Statutory Fees

                 All Statutory Fees due and payable to the U.S. Trustee prior to the Effective Date shall be
         paid by the Debtors on the Effective Date. After the Effective Date, any and all Statutory Fees
         shall be paid to the U.S. Trustee when due and payable. The Debtors shall file all monthly
         operating reports due prior to the Effective Date when they become due, using UST Form 11-
         MOR. After the Effective Date, the Plan Administrator shall file with the Bankruptcy Court UST
         Form 11-PCR reports when they become due, until the earliest of the Debtors’ cases being closed,
         dismissed, or converted to a case under chapter 7 of the Bankruptcy Code. The Debtors or the
         Plan Administrator (as applicable) shall remain obligated to pay the U.S. Trustee Statutory Fees
         until the earliest of the Debtors’ case being closed, dismissed, or converted to a case under chapter
         7 of the Bankruptcy Code. Neither the U.S. Trustee nor any other Governmental Unit is required
         to File a request for an Administrative Claim for Statutory Fees. The U.S. Trustee shall not be
         treated as providing any release under the Plan.

                                       ARTICLE III.
                  CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

                A.      Classification of Claims and Interests

                 Except for the Claims addressed in Article II herein, all Claims and Interests are classified
         in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy
         Code. A Claim or an Interest is classified in a particular Class only to the extent that the Claim or
         Interest qualifies within the description of that Class and is classified in other Class to the extent
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         that any portion of the Claim or Interest qualifies within the description of such other Class. A
         Claim also is classified in a particular Class for the purpose of receiving distributions under the
         Plan only to the extent that such Claim is an Allowed Claim in that Class and has not been
         otherwise paid, released, or satisfied at any time.

                The classification of Claims against and Interests in the Debtors pursuant to the Plan is as
         follows:

             Class              Claim or Interest             Status                  Voting Rights
              1        Other Secured Claims                 Unimpaired      Not Entitled to Vote (Deemed to
                                                                            Accept)
              2        Other Priority Claims                Unimpaired      Not Entitled to Vote (Deemed to
                                                                            Accept)
              3        Noteholder Claims                     Impaired       Entitled to Vote
              4        General Unsecured Claims              Impaired       Entitled to Vote
              5        Intercompany Claims                   Impaired       Not Entitled to Vote (Deemed to
                                                                            Reject)
              6        Section 510(b) Claims                 Impaired       Not Entitled to Vote (Deemed to
                                                                            Reject)
              7        Interests                             Impaired       Not Entitled to Vote (Deemed to
                                                                            Reject)
              8        Intercompany Interests                Impaired       Not Entitled to Vote (Deemed to
                                                                            Reject)

                  B.       Treatment of Claims and Interests

                           1.        Class 1 – Other Secured Claims

                                     (a)    Classification: Class 1 consists of all Other Secured Claims against
         the Debtors.

                                  (b)      Treatment: On the Effective Date, or as soon as reasonably
         practicable thereafter, except to the extent that a Holder of an Allowed Other Secured Claim and
         the Debtors or Plan Administrator, as applicable, agree to less favorable treatment for such Holder,
         in full and final satisfaction of the Allowed Other Secured Claim, each Holder thereof will receive:
         (i) payment in full in Cash; (ii) delivery of the collateral securing any such Claim and payment of
         any interest required under section 506(b) of the Bankruptcy Code; (iii) reinstatement of such
         Claim; or (iv) such other treatment rendering such Claim Unimpaired.

                                 (c) Voting: Class 1 is Unimpaired, and Holders of Other Secured
         Claims are conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
         Bankruptcy Code. Therefore, Holders of Class 1 Other Secured Claims are not entitled to vote to
         accept or reject the Plan.
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                         2.     Class 2 – Other Priority Claims

                                (a)     Classification: Class 2 consists of all Other Priority Claims against
         the Debtors.

                                  (b)     Treatment: On the Effective Date, or as soon as reasonably
         practicable thereafter, except to the extent that a Holder of an Allowed Other Priority Claim and
         the Debtors or Plan Administrator, as applicable, agree to less favorable treatment for such Holder,
         in full and final satisfaction of the Allowed Other Priority Claim, each Holder thereof will receive:
         (i) payment in full in Cash; or (ii) such other treatment rendering such Claim Unimpaired.

                              (c)     Voting: Class 2 is Unimpaired, and Holders of Other Priority Claims
         are conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
         Code. Therefore, Holders of Class 2 Other Priority Claims are not entitled to vote to accept or
         reject the Plan.

                         3.     Class 3 – Noteholders Claims

                                (a)     Classification: Class 3 consists of all Noteholder Claims against the
         Debtors.

                                 (b)     Treatment: On the Effective Date, or as soon as reasonably
         practicable thereafter, except to the extent that a Holder of a Noteholder Claim and the Debtors or
         Plan Administrator, as applicable, agree to less favorable treatment for such Holder, in full and
         final satisfaction of the Allowed Noteholder Claim, each Holder thereof will receive its pro rata
         share of the Plan Assets with the other Plan Beneficiaries.

                                 (c)     Voting: Class 3 is Impaired, and Holders of Noteholder Claims are
         entitled to vote to accept or reject the Plan.

                         4.     Class 4 – General Unsecured Claim

                                (a)     Classification: Class 4 consists of all General Unsecured Claims
         against the Debtors.

                                 (b)     Treatment: On the Effective Date, or as soon as reasonably
         practicable thereafter, except to the extent that a Holder of a General Unsecured Claim and the
         Debtors or the Plan Administrator, as applicable, agree to less favorable treatment for such Holder,
         in full and final satisfaction of the Allowed General Unsecured Claim, each Holder thereof will
         receive its pro rata share of the Plan Assets with the other Plan Beneficiaries.

                                (c)     Voting: Class 4 is Impaired, and Holders of General Unsecured
         Claims are entitled to vote to accept or reject the Plan.

                         5.     Class 5 – Intercompany Claims

                                (a)     Classification: Class 5 consists of all Intercompany Claims.


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                                (b)    Treatment: On the Effective Date, all Intercompany Claims shall be
         cancelled, released, discharged, and extinguished and will be of no further force or effect, and
         Holders of such Claims shall not receive any distribution, property, or other value under the Plan
         on account of such Claims.

                              (c)     Voting: Class 5 is Impaired, and Holders of Intercompany Claims
         are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
         Code. Therefore, Holders of Class 5 Intercompany Claims are not entitled to vote to accept or
         reject the Plan.

                         6.     Class 6 – Section 510(b) Claims

                                (a)     Classification: Class 6 consists of all Section 510(b) Claims against
         the Debtors.

                                (b)    Treatment: On the Effective Date, all Section 510(b) Claims shall
         be canceled, released, and extinguished, and will be of no further force or effect, and Holders of
         such Claims shall not receive any distributions under the Plan on account of such Claims.

                              (c)     Voting: Class 6 is Impaired, and Holders of Section 510(b) Claims
         are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
         Code. Therefore, Holders of Class 6 Section 510(b) Claims are not entitled to vote to accept or
         reject the Plan.

                         7.     Class 7 – Interests

                                (a)     Classification: Class 7 consists of all Interests in the Debtors.

                                (b)      Treatment: On the Effective Date, all Interests shall be canceled,
         released, and extinguished, and will be of no further force or effect, and Holders of such Interests
         shall not receive any distributions under the Plan on account of such Interest.

                               (c)     Voting: Class 7 is Impaired, and Holders of Interests are
         conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
         Therefore, Holders of Class 7 Interests Claims are not entitled to vote to accept or reject the Plan.

                         8.     Class 8 – Intercompany Interests

                                (a)     Classification: Class 8 consists of all Intercompany Interests.

                                (b)    Treatment: On the Effective Date, all Intercompany Interests shall
         be canceled, released, and extinguished, and will be of no further force or effect, and Holders of
         such Intercompany Interests shall not receive any distribution, property, or other value under the
         Plan on account of such Interest.

                              (c)     Voting: Class 8 is Impaired, and Holders of Intercompany Interests
         are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy


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         Code. Therefore, Holders of Class 8 Intercompany Interests Claims are not entitled to vote to
         accept or reject the Plan.

                C.      Special Provisions Governing Unimpaired Claims

                Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’
         or the Plan Administrator’s rights with respect to any Claims, including all legal and equitable
         defenses to or setoffs or recoupments against any Claims.

                D.      Elimination of Vacant Classes

                 Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
         Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the
         date of the Confirmation Hearing shall be deemed eliminated from this Plan for purposes of voting
         to accept or reject this Plan and for purposes of determining acceptance or rejection of this Plan
         by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

                E.      Voting Classes; Presumed Acceptance by Non-Voting Classes

                If a Class contains Claims eligible to vote, and no Holders of Claims eligible to vote in
         such Class vote to accept or reject the Plan, the Holders of Claims in such Class shall be deemed
         to have accepted the Plan.

                F.      Controversy Concerning Impairment

               If a controversy arises as to whether any Claim or any Class of Claims is Impaired, the
         Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
         Confirmation Hearing.

                G.      Subordination of Claims

                 The allowance, classification, and treatment of all Allowed Claims and Interests and the
         respective distributions and treatments under the Plan shall take into account and conform to the
         relative priority and rights of the Claims and Interests in each Class in connection with any
         contractual, legal, and equitable subordination rights relating thereto, whether arising under
         general principles of equitable subordination, contract, section 510(b) of the Bankruptcy Code, or
         otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors or the Plan Administrator
         (as applicable) reserve the right to re-classify any Allowed Claim or Allowed Interest in
         accordance with any contractual, legal, or equitable subordination relating thereto.

                H.      Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

                The Debtors hereby request confirmation of the Plan under section 1129(b) of the
         Bankruptcy Code with respect to any Class that is deemed to reject the Plan pursuant to section
         1126(g) of the Bankruptcy Code. The Debtors reserve the right to request confirmation of the Plan
         under section 1129(b) of the Bankruptcy Code with respect to any voting Class that votes to reject
         the Plan.

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                I.      Reservation of Rights Regarding Claims.

                 Except as otherwise provided in the Plan or in other Final Orders of the Bankruptcy Court,
         nothing will affect the Debtors’ or the Plan Administrator’s respective rights and defenses, whether
         legal or equitable, with respect to any Claim, including without limitation, all rights with respect
         to legal and equitable defenses to alleged rights of setoff or recoupment.

                J.      Postpetition Interest on Claims

                Except as required by applicable bankruptcy law or otherwise expressly provided in the
         Plan, post-petition interest will not accrue or be payable on account of any Claim.

                K.      Insurance

                 Notwithstanding anything to the contrary in the Plan, if any Claim is subject to coverage
         under an Insurance Policy, payments on account of such Claim will first be made from proceeds
         of such Insurance Policy in accordance with the terms thereof, with the balance of such Claim, if
         any, treated in accordance with the provisions of the Plan governing the Class applicable to such
         Claim.

                                           ARTICLE IV.
                              MEANS FOR IMPLEMENTATION OF THE PLAN

                A.      General Settlement of Claims and Interests

                 Pursuant to section 1123(b)(2) of the Bankruptcy Code and Bankruptcy Rule 9019, and in
         consideration for the distributions, releases, and other benefits provided pursuant to this Plan, upon
         the Effective Date, the provisions of this Plan shall constitute a good faith compromise of Claims,
         Interests, and controversies relating to the contractual, legal, and subordination rights that a
         creditor or an Interest holder may have with respect to any Allowed Claim or Interest or any
         distribution to be made on account of such Allowed Claim or Interest. The entry of the
         Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise and
         settlement of all such Claims, Interests, and controversies, as well as a finding by the Bankruptcy
         Court that such compromise or settlement is in the best interests of the Debtors, their Estates, and
         holders of such Claims and Interests, and is fair, equitable, and reasonable.

                B.      Sources of Consideration for Plan Distributions

                Subject to the provisions of the Plan concerning the Professional Fee Reserve and the
         Wind-Down Budget, the Debtors or the Plan Administrator (as applicable) shall fund distributions
         under the Plan with (1) Cash on hand on the Effective Date; and (2) all other Plan Assets.
         Distributions to Plan Beneficiaries shall occur pro rata from the Plan Assets.

                C.      Sale Transaction

                The Debtors shall engage in a process for the sale of all or substantially all of their assets
         and shall seek approval of the Sale Motion and the entry of the Sale Order, which shall approve

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         the sale of all or substantially all of the Debtors’ assets to the Purchaser(s) pursuant to the Asset
         Purchase Agreement(s).

                D.      Wind-Down

                Following the Effective Date, the Plan Administrator shall wind-down the affairs and
         operations of the Debtors and their Estates, including, but not limited to: (1) liquidating any
         remaining assets; (2) prosecuting the Retained Causes of Action, if any, and any other claims or
         Causes of Action of the Debtors preserved herein; and (3) making distributions to Holders of
         Allowed Claims in accordance with the terms of this Plan.

                 The responsibilities and authority of the Plan Administrator shall include the following
         rights and responsibilities: (1) preserving and liquidating any remaining assets; (2) prosecuting the
         Retained Causes of Action, if any; (3) administering and paying taxes, including, among other
         things, (a) filing tax returns (to the extent not the obligation of any Purchaser), and (b) representing
         the interest and account of the Debtors before any taxing authority in all matters; (4) retaining and
         paying, without the need for retention or fee applications, professionals in connection with the
         Plan Administrator’s performance of its duties under this Plan; (5) distributing information
         statements as required for U.S. federal income tax and other applicable tax purposes; (6) Filing an
         application for entry by the Bankruptcy Court of a final decree closing these Chapter 11 Cases; (7)
         making distributions to Professionals for Allowed Professional Fee Claims from the Professional
         Fee Reserve; (8) making distributions to Holders of Allowed Claims in accordance with the terms
         of this Plan; (9) procuring the necessary insurance to facilitate the Wind-Down, including
         appropriate D&O Policies; and (10) such other responsibilities as may be vested in the Plan
         Administrator pursuant to this Plan or an order of the Bankruptcy Court (including, without
         limitation, the Confirmation Order), or as may be necessary and proper to carry out the provisions
         of this Plan.

                E.      Limited Substantive Consolidation

                  The Plan provides for the limited substantive consolidation of the Debtors’ Estates, but
         solely for purposes of this Plan, including voting on the Plan by Holders of Claims and making
         any Plan Distributions to Holders of Claims. Specifically, on the Effective Date, (1) all assets and
         liabilities of the Debtors will, solely for voting and Plan Distribution purposes, be treated as if they
         were merged; (2) each Claim against the Debtors will be deemed a single Claim against and a
         single obligation of the Debtors; (3) any Claims Filed or to be Filed in these Chapter 11 Cases will
         be deemed single Claims against all of the Debtors; (4) all transfer, disbursements, and Plan
         Distributions on account of Claims made by or on behalf of any of the Debtors’ Estates will be
         deemed to be made by or on behalf of all of the Debtors’ Estates; and (5) any obligation of the
         Debtors as to Claims will be deemed to be one obligation of all of the Debtors. Holders of Allowed
         Claims entitled to Plan Distributions under this Plan shall be entitled to their share of assets
         available for distribution to such Claim without regard to which Debtor was originally liable for
         such Claim. Except as set forth herein, such limited substantive consolidation shall not (other than
         for purposes related to this Plan) affect the legal and corporate structures of the Debtors.




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                F.      Vesting of Assets

                 Except as otherwise provided in this Plan or the Sale Order, on and after the Effective Date,
         pursuant to sections 1141(b) and (c) of the Bankruptcy Code, any remaining assets, including all
         Plan Assets, claims, rights, Retained Causes of Action, Causes of Action, and any remaining
         property acquired by the Debtors under or in connection with this Plan, shall vest in each respective
         Debtor free and clear of all Claims, Liens, encumbrances, charges, and other interests. Subject to
         the terms of this Plan, on and after the Effective Date, the Plan Administrator may use, acquire,
         and dispose of any of the remaining assets, and may prosecute, compromise, or settle any Claims
         and Causes of Action, including the Retained Causes of Action, without supervision of or approval
         by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or the
         Bankruptcy Rules, other than restrictions expressly imposed by this Plan or the Confirmation
         Order.

                G.      Preservation of Causes of Action

                 Except as otherwise provided in any contract, instrument, release, or agreement entered
         into in connection with the Plan or the Sale, in accordance with section 1123(b) of the Bankruptcy
         Code, all Retained Causes of Action are preserved and vest in the Debtors on the Effective Date.
         Except as may otherwise be expressly set forth in the Retained Causes of Action, no Causes of
         Action shall be retained or preserved against the Debtors’ directors and officers. No Entity (other
         than the Released Parties) may rely on the absence of a specific reference in the Plan, the Plan
         Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that
         the Plan Administrator will not pursue any and all available Causes of Action of the Debtors
         against it.

                H.      Corporate Action

                 On the Effective Date and following satisfaction of the Debtors’ distribution and funding
         requirements set forth in the Plan, the Debtors shall be dissolved for all purposes unless the Plan
         Administrator determines that dissolution can have any adverse impact on the remaining assets,
         including the Retained Causes of Action; provided, that neither the Debtors nor any party released
         pursuant to Article IX herein shall be responsible for any liabilities that may arise as a result of
         non-dissolution of the Debtors; provided further, that nothing in the Plan shall be construed as
         relieving the Debtors or the Plan Administrator (as applicable) of their duties to pay Statutory Fees
         to the U.S. Trustee as required by the Bankruptcy Code and applicable law until such time as a
         final decree is entered in the Debtors’ cases or the cases are dismissed or converted to a case under
         chapter 7 of the Bankruptcy Code. The Plan Administrator shall submit with the appropriate
         governmental agencies a copy of the Confirmation Order, which Confirmation Order shall suffice
         for purposes of obtaining a Certificate of Dissolution from the Delaware Secretary of State.

                 Without limiting the foregoing, on the Effective Date and following satisfaction of the
         Debtors’ distribution and funding requirements set forth in the Plan, the Debtors shall have no
         further duties or responsibilities in connection with implementation of this Plan, and the directors
         and officers of the Debtors shall be deemed to have resigned and the employees of the Debtors
         terminated. From and after the Effective Date, the Plan Administrator shall be authorized to act


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         on behalf of the Estates, provided that the Plan Administrator shall have no duties other than as
         expressly set forth in this Plan or the Confirmation Order.

                I.      Cancellation of Existing Securities and Agreements

                 Except for the purpose of evidencing a right to a distribution under this Plan and except as
         otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, notes,
         certificates, indentures, mortgages, securities and other documents evidencing any Claim or
         Interest, and any rights of any Holder in respect thereof, shall be deemed cancelled and of no
         further force or effect and the obligations of the Debtors thereunder shall be deemed fully satisfied,
         released, and discharged and, as applicable, shall be deemed to have been surrendered to the Plan
         Administrator. The holders of or parties to such cancelled instruments, securities, and other
         documentation shall have no rights arising from or related to such instruments, securities, or other
         documentation or the cancellation thereof, except the rights provided for pursuant to this Plan.

                J.      Effectuating Documents and Further Transactions

                  Upon entry of the Confirmation Order, the Debtors or the Plan Administrator (as
         applicable) shall be authorized to execute, deliver, file, or record such contracts, instruments,
         releases, consents, certificates, resolutions, programs, and other agreements or documents, and
         take such acts and actions as may be reasonable, necessary, or appropriate to effectuate, implement,
         consummate, and/or further evidence the terms and conditions of this Plan and any transactions
         described in or contemplated by this Plan. The Debtors or the Plan Administrator (as applicable),
         all Holders of Claims receiving distributions pursuant to this Plan, and all other parties in interest
         shall, from time to time, prepare, execute, and deliver any agreements or documents, and take any
         other actions as may be necessary or advisable to effectuate the provisions and intent of this Plan.

                K.      Section 1146 Exemption from Certain Taxes and Fees

                 Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
         the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
         or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other
         similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate
         state or local governmental officials or agents shall forgo the collection of any such tax or
         governmental assessment and accept for filing and recordation all such instruments or other
         documents governing or evidencing such transfers without the payment of any such tax,
         recordation fee, or governmental assessment.

                L.      Sale Order

                Notwithstanding anything to the contrary herein, nothing in this Plan shall affect, impair
         or supersede the Sale Orders or Sale Documents, each of which remains in full force and effect
         and governs in the event of any inconsistency with the Plan.

                M.      Authority to Act

                Prior to, on, or after the Effective Date (as appropriate), all matters expressly provided for
         under this Plan that would otherwise require approval of the stockholders, security holders,
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         officers, directors, or other owners of the Debtors shall be deemed to have occurred and shall be
         in effect prior to, on, or after the Effective Date (as applicable) pursuant to the applicable law of
         the state in which the Debtors are formed, without any further vote, consent, approval,
         authorization, or other action by such stockholders, security holders, officers, directors, or other
         owners of the Debtors or notice to, order of, or hearing before, the Bankruptcy Court.

                N.      Settlement of Claims and Controversies

                 Pursuant to Section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the
         provisions of the Plan will constitute a good faith compromise and settlement of all claims or
         controversies held by the Debtors, the Committee, if any, and the DIP Secured Parties that are
         settled by this Plan. The entry of the Confirmation Order will constitute the Bankruptcy Court’s
         approval, as of the Effective Date, of the compromise or settlement of all such claims or
         controversies and the Bankruptcy Court’s finding that such compromise or settlement is in the best
         interests of the Debtors and their Estates, and is fair, equitable and reasonable. Notwithstanding
         any other provision in the Plan, the settlements are approved among the parties that have agreed
         to them (among any other party who has expressly entered into a written settlement), and the
         treatment of claims and interests is being afforded pursuant to Confirmation by satisfying the
         requirements of Section 1129.

                                     ARTICLE V.
             TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; AND
                                INSURANCE POLICIES

                A.      General Treatment

                On the Effective Date, except as otherwise provided herein (which exclusion includes the
         D&O Policies), all Executory Contracts or Unexpired Leases not previously assumed, assumed
         and assigned, or rejected pursuant to an order of the Bankruptcy Court, will be deemed rejected,
         in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
         Code other than those Executory Contracts or Unexpired Leases that are the subject of a motion
         to assume that is pending on the Confirmation Date.

                 Assumption of any Executory Contract or Unexpired Lease pursuant to the Sale
         Documents or this Plan, and payment of any Cure amounts relating thereto, shall, upon satisfaction
         of the applicable requirements of section 365 of the Bankruptcy Code, result in the full, final, and
         complete release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
         including defaults or provisions restricting the change in control of ownership interest composition
         or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired
         Lease at any time prior to the effective date of assumption.

                B.      Rejection Damages Claims

                 If the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan and
         Confirmation Order results in a Claim, then, unless otherwise ordered by the Court, such Claim
         shall be forever barred and shall not be enforceable against the Debtors, the Estates, the Plan
         Administrator, or any of their respective assets and properties unless a Proof of Claim is Filed with

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         the Notice and Claims Agent and served upon counsel to the Plan Administrator within thirty (30)
         days of the Effective Date.

                 The foregoing applies only to Claims arising from the rejection of an Executory Contract
         or Unexpired Lease under the Plan and Confirmation Order; any other Claims held by a party to a
         rejected Executory Contract or Unexpired Lease shall have been evidenced by a Proof of Claim
         Filed by the applicable Bar Date or shall be barred and unenforceable. Claims arising from the
         rejection of Executory Contracts or Unexpired Leases under the Plan and Confirmation Order shall
         be classified as General Unsecured Claims and shall, if Allowed, be treated in accordance with
         Article III.B.4 herein.

                Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
         pursuant to the Plan and Confirmation Order that are not timely Filed within thirty (30)
         days of the Effective Date will be automatically disallowed, forever barred from assertion,
         and shall not be enforceable against, as applicable, the Debtors, the Estates, the Plan
         Administrator, or any of their respective assets and properties.

                C.      Reservation of Rights

                 Neither the exclusion or inclusion of any contract or lease in the Schedules or in any Plan
         Supplement, nor anything contained in this Plan, shall constitute an admission by the Debtors that
         such contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtors have
         any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
         executory or unexpired at the time of assumption or rejection, the Debtors or the Plan
         Administrator (as applicable) may elect within thirty (30) calendar days following entry of a Final
         Order resolving such dispute to alter the treatment of such contract or lease under the Plan by filing
         a notice of such election on the docket of these Chapter 11 Cases.

                D.      Preexisting Obligations to Debtors under Executory Contracts or Unexpired
                        Leases

                 Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
         shall not constitute a termination of preexisting obligations owed to the Debtors or Plan
         Administrator (as applicable) under such Executory Contracts or Unexpired Leases. In particular,
         notwithstanding any non-bankruptcy law to the contrary, the Debtors and the Plan Administrator
         (as applicable) expressly reserve and do not waive any right to receive, or any continuing
         obligation of a counterparty to provide, warranties, indemnity or continued maintenance
         obligations.

                E.      D&O Policies

                 Each D&O Policy to which the Debtors are a party as of the Effective Date shall be deemed
         an Executory Contract and shall be automatically assumed or assumed and assigned by the
         applicable Debtor, effective as of the Effective Date, pursuant to sections 365 and 1123 of the
         Bankruptcy Code. Coverage for defense and indemnity under the D&O Policies shall remain
         available to all individuals within the definition of “Insured” in the D&O Policies. In addition,
         after the Effective Date, all officers, directors, agents, or employees of the Debtors who served in
         such capacity at any time before the Effective Date shall be entitled to the full benefits of the D&O
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         Policies (including any “tail” policy) in effect or purchased as of the Effective Date for the full
         term of such policy regardless of whether such officers, directors, agents, and/or employees remain
         in such positions after the Effective Date, in each case, to the extent set forth in the D&O Policies.

                F.      Modifications, Amendments, Supplements, Restatements, or Other
                        Agreements

                Modifications, amendments, supplements, and restatements to a prepetition Executory
         Contract and/or Unexpired Lease that have been executed by the Debtors during these Chapter 11
         Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
         Lease.

                G.      Nonoccurrence of Effective Date

                 In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
         jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
         Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

                H.      Employee Compensation and Benefits

                 All employment policies, and all compensation and benefits plans, policies, and programs
         of the Debtors applicable to their respective employees, retirees, and nonemployee directors,
         including all savings plans, retirement plans, healthcare plans, disability plans, severance benefit
         plans, incentive plans, and life and accidental death and dismemberment insurance plans, are
         deemed to be, and shall be treated as, Executory Contracts under this Plan and, on the Effective
         Date, shall be rejected pursuant to sections 365 and 1123 of the Bankruptcy Code.

                                            ARTICLE VI.
                                PROVISIONS GOVERNING DISTRIBUTIONS

                A.      Distribution Record Date

                 As of the close of business on the Distribution Record Date, the various transfer registers
         for each of the Classes of Claims or Interests as maintained by the Debtors, or their respective
         agents, shall be deemed closed, and there shall be no further changes in the record holders of any
         of the Claims or Interests. The Disbursing Agent shall have no obligation to recognize any
         ownership transfer of the Claims or Interests occurring on or after the Distribution Record Date.
         The Disbursing Agent shall be entitled to recognize and deal for all purposes hereunder only with
         those record holders stated on the transfer ledgers as of the close of business on the Distribution
         Record Date, to the extent applicable.

                Except as otherwise provided herein, the Disbursing Agent shall make distributions to
         Holders of Allowed Claims or as of the Distribution Record Date at the address for each such
         Holder as indicated on the Debtors’ records as of the date of any such distribution; provided, that
         the manner of such distributions shall be determined at the discretion of the Debtors or the Plan
         Administrator (as applicable); provided further, that the address for each Holder of an Allowed
         Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that Holder.

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                B.      Compliance with Tax Requirements

                 In connection with this Plan, any Person issuing any instrument or making any distribution
         or payment in connection therewith, shall comply with all applicable withholding and reporting
         requirements imposed by any federal, state, or local taxing authority. In the case of a non-Cash
         distribution that is subject to withholding, the distributing party may require the intended recipient
         of such distribution to provide the withholding agent with an amount of Cash sufficient to satisfy
         such withholding tax as a condition to receiving such distribution or withhold an appropriate
         portion of such distributed property and either (1) sell such withheld property to generate Cash
         necessary to pay over the withholding tax (or reimburse the distributing party for any advance
         payment of the withholding tax) or (2) pay the withholding tax using its own funds and retain such
         withheld property. The distributing party shall have the right not to make a distribution under this
         Plan until its withholding or reporting obligation is satisfied pursuant to the preceding sentences.
         Any amounts withheld pursuant to this Plan shall be deemed to have been distributed to and
         received by the applicable recipients for all purposes of this Plan.

                 Any party entitled to receive any property as an issuance or distribution under this Plan
         shall, upon request, deliver to the withholding agent or such other Person designated by the Plan
         Administrator the appropriate IRS Form or other tax forms or documentation requested by the Plan
         Administrator to reduce or eliminate any required federal, state, or local withholding. If the party
         entitled to receive such property as an issuance or distribution fails to comply with any such request
         for a one hundred eighty (180) day period beginning on the date after the date such request is made,
         the amount of such issuance or distribution shall irrevocably revert to the Plan Administrator and
         any Claim in respect of such distribution under this Plan shall be discharged and forever barred
         from assertion against such Debtor, the Plan Administrator, or their respective property.

                 Notwithstanding the above, each Holder of an Allowed Claim or Interest that is to receive
         a distribution under this Plan shall have the sole and exclusive responsibility for the satisfaction
         and payment of any tax obligations imposed on such Holder by any Governmental Unit, including
         income, withholding, and other tax obligations, on account of such Plan Distribution.

                C.      Date of Distributions

                 Distributions made after the Effective Date to Holders of Allowed Claims shall be deemed
         to have been made on the Effective Date and no interest shall accrue or be payable with respect to
         such Claims or any distribution related thereto. In the event that any payment or act under this
         Plan is required to be made or performed on a date that is not a Business Day, then the making of
         such payment or the performance of such act may be completed on or as soon as reasonably
         practicable after the next succeeding Business Day, but shall be deemed to have been completed
         as of the required date.

                D.      Disbursing Agent

                Except as otherwise provided herein, all distributions under the Plan shall be made by the
         Disbursing Agent on or after the Effective Date. The Disbursing Agent shall not be required to
         give any bond or surety or other security for the performance of its duties. If the Disbursing Agent


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         is otherwise ordered, all costs and expenses of procuring any such bond or surety shall be borne
         by the Plan Administrator.

                E.      Powers of Disbursing Agent

                The Disbursing Agent may (1) effect all actions and execute all agreements, instruments,
         and other documents necessary to carry out the provisions of this Plan; (2) make all distributions
         contemplated hereby; and (3) perform such other duties as may be required of the Disbursing
         Agent pursuant to this Plan.

                F.      Surrender of Instruments

                 As a condition precedent to receiving any distribution under this Plan, each holder of a
         certificated instrument or note must surrender such instrument or note held by it to the Disbursing
         Agent or its designee. Any holder of such instrument or note that fails to (1) surrender the
         instrument or note; or (2) execute and deliver an affidavit of loss or indemnity reasonably
         satisfactory to the Disbursing Agent and furnish a bond in form, substance, and amount reasonably
         satisfactory to the Disbursing Agent within six months of being entitled to such distribution shall
         be deemed to have forfeited all rights and claims and may not participate in any distribution
         hereunder.

                G.      Delivery of Distributions

                 Subject to applicable Bankruptcy Rules, all distributions to Holders of Allowed Claims
         shall be made by the Disbursing Agent, who shall transmit such distributions to the applicable
         Holders of Allowed Claims or their designees.

                 If any distribution to a Holder of an Allowed Claim (1) is returned as undeliverable for lack
         of a current address or otherwise; or (2) is not cashed or otherwise presented for collection by the
         Holder of the Allowed Claim within ninety (90) calendar days after the mailing of such
         distribution, the Plan Administrator shall be authorized to cancel such distribution check and file
         with the Bankruptcy Court the name and last known address of the Holder of undeliverable
         distribution or uncashed distribution, as applicable. If, after the passage of thirty (30) calendar
         days after such Filing, the payment or distribution on the Allowed Claim still cannot be made, then
         (1) the Holder of such Claim shall cease to be entitled to the undeliverable distribution or uncashed
         distribution, which will revert to the Plan Administrator; and (2) the Allowed Claim of such Holder
         shall be deemed disallowed and expunged for purposes of further distributions under the Plan.

                H.      Manner of Payment

                 Except as specifically provided herein, at the option of the Debtors or the Plan
         Administrator, as applicable, any Cash payment to be made under this Plan may be made by a
         check or wire transfer or as otherwise required or provided in applicable agreements or customary
         practices of the Debtors.




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                I.      Foreign Currency Exchange Rate

                As of the Effective Date, any Claim asserted in currency other than U.S. dollars shall be
         automatically deemed converted to the equivalent U.S. dollar value using the exchange rate for the
         applicable currency as published in The Wall Street Journal, on the Petition Date.

                J.      Setoffs and Recoupments

                 The Debtors and the Plan Administrator, pursuant to the Bankruptcy Code (including
         section 553 of the Bankruptcy Code), applicable bankruptcy and/or nonbankruptcy law, without
         the approval of the Bankruptcy Court and upon no less than fourteen (14) calendar days’ notice to
         the applicable Holder of a Claim, or as may be agreed to by the Holder of a Claim, may, but shall
         not be required to, set off against or recoup against any Allowed Claim and the distributions to be
         made pursuant to this Plan on account of such Allowed Claim (before any distribution is to be
         made on account of such Allowed Claim), any claims of any nature whatsoever that the Debtors
         or their Estates may have against the Holder of such Allowed Claim; provided, that neither the
         failure to effect such a setoff or recoupment nor the allowance of any Claim hereunder shall
         constitute a waiver or release by the Debtors or the Plan Administrator of any such claim the
         Debtors or their Estates may have against the Holder of such Claim.

                K.      Minimum Distributions

                 No payment of Cash in an amount of less than one hundred U.S. dollars ($100.00) shall be
         required to be made on account of any Allowed Claim. Such undistributed amount may instead
         be used in accordance with the Plan and the Wind-Down Budget. If the Cash available for the
         final distribution is less than the cost to distribute such funds, the Plan Administrator may donate
         such funds to the unaffiliated charity of its choice.

                L.      Allocation of Distributions Between Principal and Interest

                 To the extent that any Allowed Claim entitled to a distribution under this Plan includes
         both principal and accrued but unpaid prepetition interest, such distribution shall be allocated to
         the principal amount (as determined for U.S. federal income tax purposes) of the Claim first, and
         then to accrued but unpaid prepetition interest.

                M.      Distributions Free and Clear

                Except as otherwise provided in this Plan, any distribution or transfer made under this Plan,
         including distributions to any Holder of an Allowed Claim, shall be free and clear of any Liens,
         Claims, encumbrances, charges, and other interests, and no other entity shall have any interest,
         whether legal, beneficial, or otherwise, in property distributed or transferred pursuant to this Plan.

                N.      Claims Paid or Payable by Third Parties

                        1.      Claims Paid by Third Parties

                If a Holder of a Claim receives a payment or other satisfaction of its Claim other than
         through the Debtors and/or the Plan Administrator (as applicable) on account of such Claim, such
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         Claim shall be reduced by the amount of such payment or satisfaction without an objection to such
         Claim having to be Filed and without any further notice to or action, order, or approval of the
         Bankruptcy Court, and if the Claim was paid or satisfied in full other than through the Debtors
         and/or the Plan Administrator (as applicable), then such Claim shall be disallowed and any
         recovery in excess of a single recovery in full shall be paid over to the Plan Administrator without
         an objection to such Claim having to be Filed and without any further notice to or action, order, or
         approval of the Bankruptcy Court. To the extent a Holder of a Claim receives a distribution on
         account of such Claim and receives payment or satisfaction from a party that is not the Debtors
         and/or the Plan Administrator (as applicable) on account of such Claim, such Holder shall, within
         fourteen (14) Business Days of receipt thereof, repay or return the distribution to the Debtors or
         Plan Administrator (as applicable), to the extent the Holder’s total recovery on account of such
         Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
         any such distribution under the Plan.

                        2.      Claims Payable by Third Parties

                 No distributions under the Plan shall be made on account of an Allowed Claim that is
         payable pursuant to one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim
         has exhausted all remedies with respect to such Insurance Policy. To the extent that one or more
         of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
         by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
         applicable portion of such Claim may be expunged without an objection to such Claim having to
         be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

                        3.      Applicability of Insurance Policies

                 Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
         be in accordance with the provisions of any applicable Insurance Policy. Except as set forth in
         Article IX herein, nothing in this Plan shall constitute or be deemed a waiver of any Cause of
         Action that the Debtors or any Entity, including the Plan Administrator, may hold against any other
         Entity, including insurers under any policies of insurance, nor shall anything contained herein
         constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses,
         held by such insurers.

                                    ARTICLE VII.
             PROCEDURES FOR RESOLVING UNLIQUIDATED AND DISPUTED CLAIMS

                A.      Allowance of Claims

                 After the Effective Date, the Plan Administrator shall have and retain any and all rights
         and defenses that the Debtors had with respect to any Claim or Interest immediately prior to the
         Effective Date.

                B.      Claims Administration Responsibilities

                Except as otherwise specifically provided in the Plan, after the Effective Date, the Plan
         Administrator shall have the authority to: (1) File, withdraw, or litigate to judgment, objections to
         Claims or Interests; (2) settle or compromise any Disputed Claim without any further notice to or
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         action, order, or approval by the Bankruptcy Court; and (3) administer and adjust the claims
         register to reflect any such settlements or compromises without any further notice to or action,
         order, or approval by the Bankruptcy Court.

                C.      Estimation of Claims

                 Before or after the Effective Date, the Debtors or the Plan Administrator (as applicable)
         may (but are not required to) at any time request that the Bankruptcy Court estimate any Disputed
         Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any
         reason, regardless of whether any party previously has objected to such Claim or whether the
         Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
         jurisdiction to estimate any such Claim, including during the litigation of any objection to any
         Claim or during the appeal relating to such objection.

                 Notwithstanding any provision otherwise herein, a Claim that has been expunged or
         disallowed from the claims register, but that either is subject to appeal or has not been the subject
         of a Final Order, shall be deemed to be estimated at zero dollars ($0.00) unless otherwise ordered
         by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
         unliquidated Claim, that estimated amount shall constitute a maximum limitation on such Claim
         for all purposes under the Plan (including for purposes of distributions), and the Debtors or the
         Plan Administrator (as applicable) may elect to pursue any supplemental proceedings to object to
         any ultimate distribution on such Claim.

                D.      Adjustment to Claims Without Objection

                 Any Claim that has been paid, satisfied, or assumed by Purchaser(s) in the Sale, or any
         Claim that has been amended or superseded, may be adjusted or expunged on the claims register
         by the Debtors or the Plan Administrator (as applicable) without an objection to such Claim having
         to be Filed following notice filed on the docket in the Bankruptcy Court of such adjustment or
         expungement.

                E.      Time to File Objections to Claims

                 Except as otherwise provided herein, any objections to Claims shall be Filed on or before
         the Claims Objection Bar Date (as such date may be extended upon presentment of an order to the
         Bankruptcy Court by the Plan Administrator).

                F.      Disallowance of Late Claims

                 Except as provided herein or otherwise agreed to by the Debtors or the Plan Administrator
         (as applicable), any Holder of a Claim Filed, via Proof of Claim, after the Bar Date shall not receive
         any distributions on account of such Claims, unless on or before the Confirmation Hearing such
         late Claim has been deemed timely Filed by a Final Order.

                G.      Disputed Claims

              All Claims held by Persons or Entities against whom or which the Debtors have
         commenced a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547, 548,
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         549, or 550 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section
         522(f), 522(h), 544, 545, 548, 549 or 724(a) of the Bankruptcy Code shall be deemed Disputed
         Claims pursuant to section 502(d) of the Bankruptcy Code and Holders of such Claims shall not
         be entitled to vote to accept or reject this Plan. A Claim deemed Disputed pursuant to this Article
         VII.G shall continue to be Disputed for all purposes until the relevant proceeding against the
         Holder of such Claim has been settled or resolved by a Final Order and any sums due to the Debtors
         or the Plan Administrator from such Holder have been paid.

                H.      Disputed Claims Reserve

                 The Debtors or the Plan Administrator (as applicable) shall establish and maintain a
         Disputed Claims Reserve, which shall hold amounts as necessary to reserve for each of the
         Disputed Claims to the extent such Disputed Claims are subsequently Allowed and entitled to
         distributions, or such lower amounts as may be determined by the Bankruptcy Court.

                I.      Amendment to Claims

                 Except as provided herein, on or after the Effective Date, without the prior authorization
         of the Bankruptcy Court or the Plan Administrator, a Claim may not be Filed or amended and any
         such new or amended Claim Filed shall be deemed disallowed in full and expunged without any
         further notice to or action, order or approval of the Bankruptcy Court.

                J.      No Distributions Pending Allowance

                 If an objection to a Claim, Proof of Claim, or portion thereof is Filed, no payment or
         distribution provided under the Plan shall be made on account of such Claim, Proof of Claim, or
         portion thereof unless and until the Disputed Claim becomes an Allowed Claim.

                K.      Distributions After Allowance

                 To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
         (if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of
         the Plan. As soon as practicable after the date that the order or judgment of the Bankruptcy Court
         allowing any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the
         Holder of such Claim the distribution (if any) to which such Holder is entitled under the Plan as
         of the Effective Date, without any interest, dividends, or accruals to be paid on account of such
         Claim. No interest shall accrue or be paid on any Claim with respect to the period from the
         Effective Date to the date a final distribution is made on account of such Claim.

                                        ARTICLE VIII.
                         CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

                A.      Conditions Precedent

                The occurrence of the Effective Date of this Plan is subject to each of the following
         conditions precedent.


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                       1.      The Bankruptcy Court shall have approved the Disclosure Statement as
         containing adequate information with respect to the Plan within the meaning of section 1125 of
         the Bankruptcy Code.

                        2.      The Confirmation Order shall have been entered and shall be in full force
         and effect.

                        3.      There shall have been no modification or stay of the Confirmation Order or
         entry of any other order prohibiting the material transactions contemplated by this Plan from being
         consummated.

                         4.     The Professional Fee Reserve shall have been fully funded pursuant to the
         terms of this Plan.

                      5.      The Debtors shall have sufficient Cash to satisfy all DIP Secured Party
         Expenses upon the Effective Date.

                         6.      All actions, documents and agreements necessary to implement the Plan
         shall have been effected, executed and/or tendered for delivery. All conditions precedent to the
         effectiveness of such documents and agreements shall have been satisfied or waived pursuant to
         the terms thereof (or will be satisfied and waived substantially concurrently with the occurrence
         of the Effective Date).

                          7.     The Plan Administrator shall have been appointed and prepared to assume
         its rights and responsibilities under the Plan or Confirmation Order.

                        8.       The Debtors shall have received all authorizations, consents, regulatory
         approvals, rulings, letters, no-action letters, opinions, or documents necessary to implement this
         Plan and any transaction contemplated hereby that are required by law, regulation, or order.

                B.      Waiver of Conditions

                 Unless otherwise specifically provided for in this Plan, the conditions set forth in Article
         VIII.A herein may be waived in whole or in part by the Debtors without notice to any other parties
         in interest or the Bankruptcy Court and without a hearing.

                C.      Effect of Vacatur of the Confirmation Order

                If the Confirmation Order is vacated (1) the Plan will be null and void in all respects,
         including with respect to the release of Claims and distributions for Allowed Claims; and (2)
         nothing contained in the Plan will (a) constitute a waiver or release of any Claims by or against,
         or any Interest in, the Debtors or (b) prejudice in any manner the rights, including any claims or
         defenses, of the Parties or any other party in interest.

                D.      Votes Solicited in Good Faith

                 Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
         on the Plan in good faith and in compliance with the Bankruptcy Code.
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                                         ARTICLE IX.
                         RELEASE, INJUNCTION, AND RELATED PROVISIONS

                A.     Releases by the Debtors

                 As of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code and for
         good and valuable consideration, each Released Party is deemed released by the Debtors and
         their estates from any and all claims and Causes of Action, whether known or unknown,
         including any claims and Causes of Action that the Debtors or their estates would have been
         legally entitled to assert in their own right including any claims or Causes of Action that
         could be asserted derivatively or on behalf of the Debtors (or their estates), that such Entity
         would have been legally entitled to assert (whether individually or collectively), based on, or
         relating to, or in any manner arising from, in whole or in part, the Debtors (including the
         management, ownership, or operation thereof, or otherwise), any securities issued by the
         Debtors and the ownership thereof, the Debtors’ in- or out-of-court restructuring efforts,
         any avoidance actions, these Chapter 11 Cases, the formulation, preparation, dissemination,
         negotiation, or filing of the Disclosure Statement, the Sale Motion, the Plan, the Plan
         Supplement, or any other transaction, contract, instrument, release, or other agreement or
         document created or entered into in connection with the Sale, the Plan, the Plan Supplement,
         these Chapter 11 Cases, the filing of these Chapter 11 Cases, the pursuit of the Confirmation
         Order, the pursuit of the Sale Order, the pursuit of Consummation, the administration and
         implementation of the Plan, including the distribution of property under the Plan or any
         other related agreement, or upon any other related act or omission, transaction, agreement,
         event, or other occurrence or omission taking place on or before the Effective Date; provided,
         that this provision shall not operate to waive or release any Claims or Causes of Action
         related to any act or omission that is determined in a Final Order by a court of competent
         jurisdiction to have constituted actual intentional fraud, willful misconduct, or gross
         negligence of such Person. Notwithstanding anything to the contrary in the foregoing, the
         releases set forth above do not release (1) any post Effective Date obligations of any party or
         entity under the Plan or any document, instrument, or agreement (including those set forth
         in the Plan Supplement) executed to implement the Plan; (2) any obligations under or in
         respect of the Sale Order; or (3) the Retained Causes of Action, if any.

                 Each Person and Entity deemed to grant the Debtors releases shall be deemed to have
         granted such releases notwithstanding that such Person or Entity may hereafter discover
         facts in addition to, or different from, those which such Person or Entity now knows or
         believes to be true, and without regard to the subsequent discovery or existence of such
         different or additional facts, and such Person or Entity expressly waives any and all rights
         that such Person or Entity may have under any statute or common law principle, including,
         without limitation, section 1542 of the California Civil Code, to the extent such section is
         applicable, which would limit the effect of such releases to those claims or Causes of Action
         actually known or suspected to exist on the Effective Date. Section 1542 of the California
         Civil Code generally provides as follows: “A GENERAL RELEASE DOES NOT EXTEND
         TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
         SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
         RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY

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         AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
         PARTY.”

                B.     Releases by Holders of Claims and Interests

                 As of the Effective Date, each Releasing Party is deemed to have released each
         Released Party from any and all claims and Causes of Action, whether known or unknown,
         including any claims and Causes of Action that the Debtors or their estates would have been
         legally entitled to assert in their own right including any claims or Causes of Action that
         could be asserted derivatively or on behalf of the Debtors (or their estates), that such Entity
         would have been legally entitled to assert (whether individually or collectively), based on,
         relating to, or in any manner arising from, in whole or in part, the Debtors (including the
         management, ownership or operation thereof, or otherwise), any securities issued by the
         Debtors and the ownership thereof, the Debtors’ in- or out-of-court restructuring efforts,
         any avoidance actions, these Chapter 11 Cases, the formulation, preparation, dissemination,
         negotiation, or filing of the Disclosure Statement, the Sale Motion, the Plan, the Plan
         Supplement, or any other transaction, contract, instrument, release, or other agreement or
         document created or entered into in connection with the Sale, the Plan, the Plan Supplement,
         these Chapter 11 Cases, the filing of these Chapter 11 Cases, the pursuit of the Confirmation
         Order, the pursuit of the Sale Order, the pursuit of Consummation, the administration and
         implementation of the Plan, including the distribution of property under the Plan or any
         other related agreement, or upon any other related act or omission, transaction, agreement,
         event, or other occurrence or omission taking place on or before the Effective Date; provided,
         that this provision shall not operate to waive or release any Claims or Causes of Action
         related to any act or omission that is determined in a Final Order by a court of competent
         jurisdiction to have constituted actual intentional fraud, willful misconduct, or gross
         negligence of such Person; provided further, that notwithstanding anything to the contrary
         in the Disclosure Statement and Plan, this provision shall not apply with respect to any
         unimpaired Claim until such unimpaired Claim has been paid in full in the Allowed amount
         of such Claim determined in accordance with applicable law, or on terms agreed to between
         the Holder of such Claim and the Debtors or the Plan Administrator, as applicable, at which
         time this provision shall apply in all respects as to the applicable unimpaired Claim.
         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
         not release (1) any post Effective Date obligations of any party or entity under the Plan or
         any document, instrument, or agreement (including those set forth in the Plan Supplement)
         executed to implement the Plan; (2) any obligations under or in respect of the Sale Order; or
         (3) the Retained Causes of Action, recovery on account of which, other than with respect to
         the Severance Payment Claim, if any.

                Each Person and Entity deemed to grant the releases described in this Section shall
         be deemed to have granted such releases notwithstanding that such Person or Entity may
         hereafter discover facts in addition to, or different from, those which such Person or Entity
         now knows or believes to be true, and without regard to the subsequent discovery or
         existence of such different or additional facts, and such Person or Entity expressly waives
         any and all rights that such Person or Entity may have under any statute or common law
         principle, including, without limitation, section 1542 of the California Civil Code, to the
         extent such section is applicable, which would limit the effect of such releases to those claims
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         or Causes of Action actually known or suspected to exist on the Effective Date. Section 1542
         of the California Civil Code generally provides as follows: “A GENERAL RELEASE DOES
         NOT EXTEND TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES
         NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
         EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD
         HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
         OR RELEASED PARTY.”

                C.      Exculpation

                Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
         or incur liability for, and each Exculpated Party is exculpated from any Cause of Action for
         any Claim related to any act or omission occurring between the Petition Date and the
         Effective Date of the Plan in connection with, relating to, or arising out of, these Chapter 11
         Cases, the formulation, preparation, dissemination, negotiation, or filing of the Debtors’
         in-court restructuring efforts, the Disclosure Statement, the Sale Motion, the Plan, the Plan
         Supplement, or any restructuring transaction, contract, instrument, release, or other
         agreement or document created or entered into in connection with the Sale, the Plan, the
         Plan Supplement, these Chapter 11 Cases, the filing of these Chapter 11 Cases, the pursuit
         of the Confirmation Order, the pursuit of the Sale Order, the pursuit of Consummation, the
         administration and implementation of the Plan, including the distribution of property under
         the Plan or any other related agreement, or upon any other related act or omission,
         transaction, agreement, event, or other act, occurrence or omission taking place between the
         Petition Date and the Effective Date, except for claims related to any act or omission that is
         determined in a Final Order by a court of competent jurisdiction to have constituted actual
         intentional fraud, willful misconduct, or gross negligence of such Person, but in all respects
         such Entities shall be entitled to reasonably rely upon the written advice of counsel with
         respect to their duties and responsibilities pursuant to the Plan.

                D.      Injunction

                 Except as otherwise provided in the Plan or the Confirmation Order, all Entities who have
         held, hold, or may hold claims, Interests, Causes of Action, or liabilities that: (1) are subject to
         compromise and settlement pursuant to the terms of the Plan; (2) have been released pursuant to
         the Plan; (3) were purchased and released by a Purchaser in connection with the Sale; (4) are
         subject to exculpation pursuant to the Plan; or (5) are otherwise satisfied, stayed, released, or
         terminated pursuant to the terms of the Plan, are permanently enjoined and precluded, from and
         after the Effective Date, from commencing or continuing in any manner, any action or other
         proceeding, including on account of any Claims, Interests, Causes of Action, or liabilities that have
         been compromised or settled against the Debtors or any Entity so released or exculpated (or the
         property or estate of any Entity, directly or indirectly, so released or exculpated) on account of, or
         in connection with or with respect to, any released, settled, compromised, or exculpated claims,
         Interests, Causes of Action, or liabilities, including being permanently enjoined and precluded,
         from and after the Effective Date, from taking any of the following actions against, as applicable,
         the Debtors, the Plan Administrator, the Released Parties, or Exculpated Parties (as applicable):
         (1) commencing or continuing in any manner any action or other proceeding of any kind on
         account of or in connection with or with respect to any such claims or Interests; (2) enforcing,
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         attaching, collecting, or recovering by any manner or means any judgment, award, decree, or order
         against such Entities on account of or in connection with or with respect to any such claims or
         Interests; (3) creating, perfecting, or enforcing any Lien or encumbrance of any kind against such
         Entities or the property or the estate of such Entities on account of or in connection with or with
         respect to any such claims or Interests; (4) asserting any right of setoff or subrogation of any kind
         against any obligation due from such Entities or against the property of such Entities on account
         of or in connection with or with respect to any such claims or Interests unless such Entity has
         timely asserted such setoff right in a document filed with the Bankruptcy Court explicitly
         preserving such setoff, and notwithstanding any other indication of a Claim or Interest or otherwise
         that such Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable law
         or otherwise; and (5) commencing or continuing in any manner any action or other proceeding of
         any kind on account of or in connection with or with respect to any such claims or Interests released
         or settled pursuant to the Plan.

                 Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
         Interests and other parties in interest, along with their respective present or former employees,
         agents, officers, directors, or principals, shall be enjoined from taking any actions to interfere with
         the implementation or consummation of this Plan by the Debtors, the Plan Administrator, and their
         respective affiliates, employees, advisors, officers and directors, or agents.

                E.      No Discharge

                Because the Debtors are liquidating, they are not entitled to a discharge of obligations
         pursuant to section 1141 of the Bankruptcy Code with regard to any Holders of Claims or Interests.

                F.      Release of Liens

                 Except as otherwise provided herein or in any contract, instrument, release, or other
         agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
         the applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges,
         or other security interests against any property of the Estates shall be fully released and discharged,
         and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens,
         pledges, or other security interests shall revert to the Debtors and their successors and assigns.

                 If any Holder of an Other Secured Claim or any agent for such Holder has filed or recorded
         publicly any Liens and/or security interests to secure such Holder’s Other Secured Claim, as soon
         as practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall take
         any and all steps requested by the Plan Administrator that are necessary or desirable to record or
         effectuate the cancellation and/or extinguishment of such Liens and/or security interests, including
         the making of any applicable filings or recordings, and the Plan Administrator shall be entitled to
         make any such filings or recordings on such Holder’s behalf.

                                               ARTICLE X.
                                        RETENTION OF JURISDICTION

                 Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
         Date, the Bankruptcy Court shall retain jurisdiction over all matters arising out of, or related to,
         these Chapter 11 Cases, the Sale, the Sale Documents, the Confirmation Order, and the Plan
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         pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to each of the
         following:

                 1.     Allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
         secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
         request for payment of any Administrative Claim and the resolution of any and all objections to
         the secured or unsecured status, priority, amount, or allowance of Claims or Interests.

                 2.     Resolve any cases, controversies, suits, or disputes that may arise in connection
         with Claims, including Claim objections, allowance, disallowance, subordination, estimation and
         distribution.

                  3.     Decide and resolve all matters related to the granting and denying, in whole or in
         part of, any applications for allowance of compensation or reimbursement of expenses to Retained
         Professionals authorized pursuant to the Bankruptcy Code or the Plan.

                4.      Resolve any matters related to: (a) the assumption or assumption and assignment
         of any Executory Contract or Unexpired Lease to which the Debtors are a party or with respect to
         which the Debtors may be liable and to hear, determine, and, if necessary, liquidate, any cure
         amount arising therefrom; and/or (b) any dispute regarding whether a contract or lease is or was
         executory or expired.

                 5.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
         litigated matters, and any other matters, and grant or deny any applications involving the Debtors
         that may be pending on the Effective Date.

               6.     Adjudicate, decide, or resolve any and all matters related to section 1141 of the
         Bankruptcy Code.

                 7.      Adjudicate, decide or resolve any motions, adversary proceedings, contested, or
         litigated matters, and any other matters relating to the Retained Causes of Action, if any.

                8.     Enter and implement such orders as may be necessary or appropriate to execute,
         implement, or consummate the provisions of the Plan and all contracts, instruments, releases, and
         other agreements or documents created in connection with the Plan or the Disclosure Statement.

                9.      Resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
         in connection with the interpretation or enforcement of the Plan or any Entity’s obligations
         incurred in connection with the Plan.

               10.    Issue injunctions, enter and implement other orders or take such other actions as
         may be necessary or appropriate to restrain interference by any Entity with enforcement of the
         Plan.

                 11.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
         to the releases, injunctions, and other provisions contained in the Plan and enter such orders as
         may be necessary or appropriate to implement such releases, injunctions, and other provisions.

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               12.    Enter and implement such orders as are necessary or appropriate if the
         Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated.

              13.     Determine any other matters that may arise in connection with or related to the Sale
         Documents, the Disclosure Statement, the Plan, and the Confirmation Order.

                 14.    Ensure that distributions to Holders of Allowed Claims are accomplished pursuant
         to the provisions of the Plan.

                 15.   Resolve any cases, controversies, suits, disputes, or Causes of Action with respect
         to the repayment or return of distributions and the recovery of additional amounts owed by any
         Holder for amounts not timely repaid.

                 16.    Adjudicate any and all disputes arising from or relating to distributions under the
         Plan.

                17.     Consider any modifications of the Plan, to cure any defect or omission, or to
         reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order.

               18.    Hear and determine disputes arising in connection with the interpretation,
         implementation, or enforcement of the Plan or the Confirmation Order.

                19.     Hear and determine matters concerning state, local, and federal taxes in accordance
         with sections 346, 505, and 1146 of the Bankruptcy Code.

                20.     To recover all assets of the Debtors and property of the Debtors’ Estates, wherever
         located.

               21.      To hear and determine any Causes of Action that may be brought by the Plan
         Administrator.

                22.      To hear and determine any other rights, claims, or Causes of Action held by or
         accruing to the Debtors or the Plan Administrator pursuant to the Bankruptcy Code or any
         applicable state or federal statute or legal theory.

                 23.    Enter an order or final decree concluding or closing these Chapter 11 Cases.

                 24.    Enforce all orders previously entered by the Bankruptcy Court.

                 25.    Hear any other matter over which the Bankruptcy Court has jurisdiction.

                                      ARTICLE XI.
                  MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

                 A.     Modification of the Plan

                Subject to the limitations contained in the Plan, the Debtors reserve the right, in accordance
         with the Bankruptcy Code and the Bankruptcy Rules (1) to amend or modify the Plan prior to the
         entry of the Confirmation Order, including amendments or modifications to satisfy section 1129
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         of the Bankruptcy Code; and (2) after the entry of the Confirmation Order, the Debtors may, upon
         order of the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of
         the Bankruptcy Code, or remedy any defect or omission or reconcile any inconsistency in the Plan
         in such manner as may be necessary to carry out the purpose and intent of the Plan.

                 In the event that the Sale is not consummated prior to the Effective Date, the Debtors shall
         use commercially reasonable efforts to modify the Plan to effectuate and structure the Plan in a tax
         efficient manner as determined by the Debtors and the Purchaser(s).

                B.      Other Amendments

                 The Debtors may make appropriate non-material, technical adjustments and modifications
         to this Plan or the Plan Supplement prior to the Effective Date without further order or approval
         of the Bankruptcy Court.

                C.      Effect of Confirmation on Modifications

                 Entry of the Confirmation Order shall mean that all modifications or amendments to the
         Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
         and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

                D.      Revocation of Plan; Effect of Non-Occurrence of Conditions to the Effective
                        Date

                  Subject to the conditions to the Effective Date, the Debtors, reserve the right to revoke or
         withdraw the Plan prior to the entry of the Confirmation Order and to File subsequent plans of
         reorganization or liquidation. If the Debtors revoke or withdraw the Plan, or if entry of the
         Confirmation Order or the Effective Date does not occur, then (1) the Plan shall be null and void
         in all respects; (2) any settlement or compromise embodied in the Plan, assumption or rejection of
         Executory Contracts or Unexpired Leases effected by the Plan, and any document or agreement
         executed pursuant hereto shall be deemed null and void; and (3) nothing contained in the Plan, the
         Confirmation Order, or the Disclosure Statement shall (a) constitute a waiver or release of any
         Claims, Interests, or Causes of Action, (b) prejudice in any manner the rights of the Debtors or any
         other Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by
         the Debtors or any other Entity.

                                              ARTICLE XII.
                                       MISCELLANEOUS PROVISIONS

                A.      Debtors’ Operation from Confirmation Hearing Through Effective Date

                During the period from the Confirmation Hearing through and until the Effective Date, the
         Debtors shall continue to operate as a debtor in possession, subject to the oversight of the
         Bankruptcy Court as provided in the Bankruptcy Code, the Bankruptcy Rules, and all orders of
         the Bankruptcy Court that are then in full force and effect.



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                B.      Immediate Binding Effect

                 Notwithstanding Bankruptcy Rules 3020(e) or 7062 or otherwise, upon the occurrence of
         the Effective Date, the terms of the Plan and the documents and instruments contained in the Plan
         Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors,
         the Plan Administrator, all Holders of Claims against and Interests in the Debtors (regardless of
         whether any such Holder has voted or failed to vote to accept or reject this Plan and regardless of
         whether any such Holder is entitled to receive any distribution under this Plan), all Entities that
         are parties to or are subject to the settlements, compromises, releases, and injunctions described in
         the Plan, each Entity acquiring property under the Plan, any and all non-Debtor parties to
         Executory Contracts and Unexpired Leases, and all parties in interest.

                C.      Additional Documents

                On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
         agreements and other documents as may be necessary or appropriate to effectuate and further
         evidence the terms and conditions of the Plan. The Debtors or the Plan Administrator (as
         applicable), all Holders of Claims or Interests receiving distributions pursuant to the Plan, and all
         other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or
         documents and take any other actions as may reasonably be necessary or advisable to effectuate
         the provisions and intent of the Plan or the Confirmation Order.

                D.      Substantial Consummation

                On the Effective Date, this Plan shall be deemed to be substantially consummated (within
         the meaning set forth in section 1101 of the Bankruptcy Code) pursuant to section 1127(b) of the
         Bankruptcy Code.

                E.      Reservation of Rights

                 The Plan shall have no force or effect unless and until the Bankruptcy Court enters the
         Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the
         Plan, or the taking of any action by the Debtors with respect to the Plan, the Disclosure Statement,
         or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
         the Debtors with respect to the Holders of Claims or Interests prior to the Effective Date.

                F.      Successors and Assigns

                The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
         binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
         beneficiaries or guardian, if any, of each Entity.

                G.      Determination of Tax Liabilities

                 As of the Effective Date, the Plan Administrator will be responsible for preparing and filing
         any tax forms or returns on behalf of the Debtors’ Estates (to the extent not the responsibility of
         the Purchaser(s)); provided, that the Plan Administrator shall not be responsible for preparing or
         filing any tax forms for Holders of Interests in the Debtors (which Interests shall be cancelled
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         pursuant to this Plan), but shall provide such Holders with any information reasonably required to
         prepare such forms. The Debtors and the Plan Administrator (as applicable) shall have the right
         to request an expedited determination of any tax liability pursuant to section 505 of the Bankruptcy
         Code, including on any unpaid liability of the Debtors’ Estate for any tax incurred during the
         administration of these Chapter 11 Cases.

                  H.     Dissolution of the Committee

                 On the Effective Date, any duly appointed official committee of unsecured creditors will
         dissolve and the members thereof will be released and discharged from all duties and obligations
         arising from or related to these Chapter 11 Cases; provided, that, after the Effective Date, the
         Committee (if any) will continue to exist solely with respect to (1) any applications for Professional
         Fee Claims or expense reimbursements for members of the Committee, including preparing same,
         objecting to same, defending same and attending any hearing with respect to same; and (2) any
         appeal pending as of the Effective Date or filed thereafter, the outcome of which could reasonably
         be expected to affect in any material way the treatment of the Holders of General Unsecured
         Claims, including, but not limited to, any cases, controversies, suits or disputes arising in
         connection with the consummation, interpretation, implementation or enforcement of the Plan or
         the Confirmation Order. Following the Effective Date, the Committee’s Retained Professionals,
         if any, shall be entitled to reasonable compensation for services rendered in connection with the
         matters identified in clauses (1) – (2). Any such payments made in connection therewith shall be
         made without any further notice to or action, order, or approval of the Bankruptcy Court.

                  I.     Preservation of Books and Records

                  On the Effective Date, the Debtors shall provide the Plan Administrator with timely access
         to all of the books and records of the Debtors in the Debtors’ possession. The Debtors shall also
         instruct any third parties or professionals possessing such books and records (including computer
         generated or computer maintained books, records, and data) to permit access to such books and
         records as may be reasonably requested by the Plan Administrator.

                  J.     Notices

                In order for all notices, requests, and demands to or upon the Debtors or the Plan
         Administrator, as the case may be, to be effective such notices, requests and demands shall be in
         writing (including by electronic mail) and, unless otherwise expressly provided herein, shall be
         deemed to have been duly given or made when actually delivered or, in the case of notice by email,
         when received, and served on or delivered to the following parties:

                             Debtors                                   Counsel to the Debtors
             ICON Aircraft, Inc.                           Sidley Austin LLP
             2141 ICON Way, Suite 100                      1999 Avenue of the Stars, 19th Floor
             Vacaville, California 95688                   Los Angeles, California 90067
             Attention: Jerry Meyers                       Attention: Sam Newman
             E-mail: jerry.meyer@iconaircraft.com          Email: sam.newman@sidley.com
                                                           -and-

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                                                           Young, Conaway Stargatt & Taylor, LLP
                                                           Rodney Square
                                                           1000 North King Street
                                                           Wilmington, Delaware 19801
                                                           Attention: Sean M. Beach
                                                           Email: sbeach@ycst.com

                        Plan Administrator                       Counsel to the Plan Administrator
             To be included in the Plan Supplement         To be included in the Plan Supplement

                  After the Effective Date, Persons or Entities that wish to continue to receive documents
         pursuant to Bankruptcy Rule 2002 must File a renewed request to receive documents pursuant to
         Bankruptcy Rule 2002. After the Effective Date, the Plan Administrator is authorized to limit the
         list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that Filed
         such renewed requests.

                   K.     Term of Injunctions or Stays

                 Except as otherwise provided in this Plan, to the maximum extent permitted by applicable
         law and subject to the Bankruptcy Court’s post-confirmation jurisdiction to modify the injunctions
         and stays under this Plan (1) all injunctions with respect to or stays against an action against
         property of the Debtors or the Debtors’ Estates arising under or entered during these Chapter 11
         Cases under sections 105 or 362 of the Bankruptcy Code, and in existence on the date the
         Confirmation Order is entered, shall remain in full force and effect until such property is no longer
         property of the Debtors or the Debtors’ Estates; and (2) all other injunctions and stays arising under
         or entered during these Chapter 11 Cases under sections 105 or 362 of the Bankruptcy Code shall
         remain in full force and effect until the earliest of (a) the date that these Chapter 11 Cases are
         closed pursuant to a Final Order of the Bankruptcy Court, or (b) the date that these Chapter 11
         Case are dismissed pursuant to a Final Order of the Bankruptcy Court. All injunctions or stays
         contained in the Plan or the Confirmation Order shall remain in full force and effect indefinitely.

                   L.     Entire Agreement

                On the Effective Date, the Plan and the Plan Supplement supersede all previous and
         contemporaneous negotiations, promises, covenants, agreements, understandings, and
         representations on such subjects, all of which have become merged and integrated into the Plan.

                   M.     Plan Supplement Exhibits

                 All exhibits and documents included in the Plan Supplement are incorporated into and are
         a part of the Plan as if set forth in full in the Plan. Copies of such exhibits and documents shall be
         made available upon written request to Debtors’ counsel or Plan Administrator’s counsel (as
         applicable) at the address above or by downloading such exhibits and documents free of charge
         from the Notice and Claims Agent’s website.



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                Unless otherwise ordered by the Bankruptcy Court, to the extent any exhibit or document
         in the Plan Supplement is inconsistent with the terms of the Plan, the Plan shall control. The
         documents in the Plan Supplement are considered an integral part of the Plan and shall be deemed
         approved by the Bankruptcy Court pursuant to the Confirmation Order.

                N.      Governing Law

                 Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
         Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
         Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
         obligations, construction, and implementation of the Plan, any agreements, documents,
         instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
         set forth in those agreements, in which case the governing law of such agreement shall control),
         and corporate governance matters.

                O.      Nonseverability of Plan Provision Upon Confirmation

                 If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
         unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or
         provision to make it valid or enforceable to the maximum extent practicable, consistent with the
         original purpose of the term or provision held to be invalid, void, or unenforceable, and such term
         or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
         alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
         full force and effect and will in no way be affected, impaired, or invalidated by such holding,
         alteration, or interpretation.

                 The Confirmation Order shall constitute a judicial determination and shall provide that
         each term and provision of the Plan, as it may have been altered or interpreted in accordance with
         the foregoing, is the following: (1) valid and enforceable pursuant to its terms; (2) integral to the
         Plan and may not be deleted or modified without the consent of the Debtors or the Plan
         Administrator (as applicable); and (3) nonseverable and mutually dependent.

                P.      Closing of Chapter 11 Case

                 After the full administration of these Chapter 11 Cases, the Plan Administrator shall
         promptly File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022, a
         motion pursuant to Local Rule 3022-1(a), and any applicable order of the Bankruptcy Court to
         close these Chapter 11 Cases.

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         Dated: May 13, 2024

                                                    Respectfully submitted,



                                                     /s/ Thomas M. McCabe_____________
                                                    By: Thomas M. McCabe
                                                    Chief Restructuring Officer
                                                    ICON Aircraft, Inc.




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